Case 1:O4-cV-01371-LPS Doc_u_rnmerjt 1 ,__Filed 10/20/04 Page 1 of 67 Page|D #: 24207

FOR THE DISTRICT OF DELAWARE

 

O§\ G\N P\\'° IN THE UNITED STATES DISTRICT COURT

POWER INTEGRATIONS, INC., a
Delaware corporation,

Plaintiff,

v,
C.A. No.
FAIRCHILD SEl\/HCONDUCTOR
INTERNATIONAL, lNC., a Delaware JURY TRIAL REQUESTED
corporation, and FAIRCHILD
SEMICONDUCTOR CORPORATION, a
Delaware corporation

Defendants.

 

 

COMPLAINT FOR PATENT INFRINGEMENT

Plaintiff Power lntegrations, Inc. hereby alleges as follows:

THE PARTIES

l. Power Integrations, Inc. (“Power Integrations”) is incorporated under the
laws of the state of Delaware, and has a regular and established place of business at 5245
Hellyer Avenue, San Jose, California, 9513 8.

2. Upon information and belief, defendant Fairchild Semiconductor
International, lnc. is incorporated under the laws of the state of Delaware, with its
headquarters located at 82 Running Hill Road, South Portland, l\/laine, 04106. Upon
information and belief7 defendant Fairchild Semiconductor Corporation is incorporated
under the laws of the state of Delaware, with its headquarters located at 82 Running Hill
Road, South Portland, Maine, 04106. (Fairchild Serniconductor lnternational, Inc. and
Fairchild Serniconductor Corporation hereinafter collectively “Fairchild

Semiconductor.”)

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JURISIDICTION AND VENUE

3. This action arises under the patent laws of the United States, Title 35
UjS.C. § l et Seq. This Court has subject matterjurisdiction under 28 U.S.C. §§ l33l and
133 8(a).

4. Upon information and belief, this Court has personal jurisdiction over
defendants because defendants are incorporated, doing business and advertising in this
judicial District.

5. Upon information and belief, venue is proper in this Court pursuant to 28
U.S.C. §§ l39l(b), (c) and 1400 because the defendants are subject to personal
jurisdiction in this judicial District.

GENERAL ALLEGATIONS

6. Power lntegrations’ products include its integrated pulse width modulation
(“PWM”) integrated circuits that are used in power supplies for electronic devices such
as cellular telephones, LCD monitors and computers These products are sold throughout
the United States, including Delaware.

7. Upon information and belief, defendants manufacture PWl\/l integrated
circuits devices (e.g., devices intended for use in power conversion applications such as
LCD monitor power supplies or battery chargers for portable electronics), and directly
and through their affiliates, uses, imports, sells, and offers to sell the same throughout the
United States, including Delaware.

FIRST CAUSE OF ACTION
INFRINGEMENT OF U.S. PATENT NO. 6,107,851

8. The allegations of paragraphs l-7 are incorporated as though fully set
forth herein.

9. Power Integrations is now, and has been since its issuance, the assignee
and sole owner of all right, title, and interest in United States Patent No. 6,107,851,

entitled “()ffline Converter with Integrated Softstart and Frequency Jitter” (“the ’851

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patent”), which was duly and legally issued on August 22, 2000. A true and correct copy
of the ’851 patent is attached hereto as Exhibit A.

lO. Upon information and belief, defendants have been and are now
infringing, inducing infringement, and contributing to the infringement of the ’851 patent
by making, using, importing, selling, and offering to sell devices, including PWl\/l
integrated circuit devices, and/or inducing or contributing to the importation, use, offer
for sale and sale by others of such devices covered by one or more claims of the ’851

patent, all to the injury of Power lntegrations.

ll. Defendants’ acts of infringement have injured and damaged Power
Integrations.
12. Defendants’ infringement has caused irreparable injury to Power

Integrations and will continue to cause irreparable injury until defendants are enjoined
from further infringement by this Court.
SECOND CAUSE OF ACTION
INFRINGEMENT OF U.S. PATENT NO. 6,249,876

13. The allegations of paragraphs l-7 are incorporated as though fully set
forth herein.

l4. Power Integrations is now, and has been since its issuance, the assignee
and sole owner of all right, title, and interest in United States Patent No. 6,249,876,
entitled “Frequency Jittering Control for Varying the Switching Frequency of a Power
Supply” (“the ’876 patent”), which was duly and legally issued on June 19, 2001. A true
and correct copy of the ’876 patent is attached hereto as EXhibit B.

15., Upon information and belief, defendants have been and are now
infringing, inducing infringement, and contributing to the infringement of the ’876 patent
by making, using, importing, selling, and offering to sell devices, including PWM

integrated circuit devices and/or inducing or contributing to the importation, use, offer for

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sale and sale by others of such devices covered by one or more claims of the ’876 patent,

all to the injury of Power lntegrations.

16. Defendants’ acts of infringement have injured and damaged Power
lntegrations.
l7. Defendants’ infringement has caused irreparable injury to Power

lntegrations and will continue to cause irreparable injury until defendants are enjoined
from further infringement by this Court.
THIRD CAUSE OF ACTION
INFRINGEMENT OF U.S. PATENT NO. 6,229,366

18. The allegations of paragraphs l-7 are incorporated as though fully set
forth herein.

l9. Power lntegrations is now, and has been since its issuance, the assignee
and sole owner of all right, title, and interest in United States Patent No. 6,229,366,
entitled “Off~Line Converter with lntegrated Softstart and Frequency Jitter” (“the ’366
patent”), which was duly and legally issued on May 8, 2001. A true and correct copy of
the ’366 patent is attached hereto as EXhibit C.

2(). Upon information and belief, defendants have been and are now
infringing, inducing infringement, and contributing to the infringement of the ’366 patent
by making, using, importing, selling, and offering to sell devices, including PWM
integrated circuit devices and/or inducing or contributing to the importation, use, offer for
sale and sale by others of such devices covered by one or more claims of the ’366 patent,

all to the injury of Power lntegrations.

2l. Defendants’ acts of infringement have injured and damaged Power
lntegrations.
22n Defendants’ infringement has caused irreparable injury to Power

lntegrations and will continue to cause irreparable injury until defendants are enjoined

from further infringement by this Court.

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FOURTH CAUSE 0F ACTION
INFRINGEMENT OF U.S. PATENT NO. 4,811,075

23. The allegations of paragraphs 1-7 are incorporated as though fully set
forth herein.

24. Power lntegrations is now, and has been since its issuance, the assignee
and sole owner of all ri ght, title, and interest in United States Patent No.v 4,81 1,075,
entitled “High Voltage MOS Transistors” (“the ’075 patent”), which was duly and legally
issued on l\/larch 7, 1989. A true and correct copy of the ’075 patent is attached hereto as
Exhibit D.

25. Upon information and belief, defendants have been and are now
infringing, inducing infringement, and contributing to the infringement of the ’075 patent
by making, using, importing, selling, and offering to sell devices, including PWM
integrated circuit devices and/or inducing or contributing to the importation, use, offer for
sale and sale by others of such devices covered by one or more claims of the ’075 patent,

all to the injury of Power lntegrations.

26. Defendants’ acts of infringement have injured and damaged Power
Integrations.
27. Defendants’ infringement has caused irreparable injury to Power

lntegrations and will continue to cause irreparable injury until defendants are enjoined
from further infringement by this Court.
PRAYER FOR RELIEF
WHEREFORE, Plaintiff requests the following relief:

(a) judgment against defendants as to infringement of the ’851 patent;
(b) judgment against defendants as to infringement of the ’876 patent;
(c) judgment against defendants as to infringement of the ’366 patent;

(d) judgment against defendants as to infringement of the ’()75 patent;

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(e) a permanent injunction preventing defendants and their officers, directors,
agents, servants, employees, attorneys, licensees, successors, assigns, and customers, and
those in active concert or participation with any of them, from making, using, importing,
offering to sell or selling any devices that infringe any claim of the ’851, ’876, ’366, or
’075 patents;

(f) judgment against defendants for money damages sustained as a result of
defendants’ infringement of the ’851, ’876, ’366, and ’075 patents;

(g) costs and reasonable attorneys’ fees incurred in connection with this action
pursuant to 35 U.S.C § 285; and

(g) such other and further relief as this Court finds just and proper.

JURY DEMAND

Plaintiff requests trial by jury.

Dated: October 20, 2004 FISH & RICHARDSON P.C.

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Attomeys for Plaintiff
POWER INTEGRATIONS, lNC.

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[75] lnventors: Balu Bali\kirshnan; Ach chnguerit\n, 4>928)220 5/1990 White -------------- 363/56
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4>622»627_ 11/:1986 Rod_l`iguez el al~ 363/37 nal according to a drive signal provided at a control input.
4>695’930 9/1987 Wh“tie """"" 363/21 T he pulse width modulated switch also comprises a fre-
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4 720 641 1/]988 Fami ..... 307/18 Signal and an oscillator that provides an oscillation signal
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OFFLINE CONVER'I`ER WITH INTEGRATEI)
SOFTSTART AND FREQUENCY JITTER
BACKGROUND
1. Field of the lnvention

The field of the present invention pertains to the field of
power supplies and among other things to the regulation of
power supplies

2. Background of the Invention

Power supplies that convert an AC mains voltage to a DC v

voltage for use by integrated electronic devices, amongst
other devices, are known. The power supplies are required
to maintain the output voltage, current or power within a
regulated range for efficient and safe operation of the elec-
tronic device. Switches that operate according a pulse width
modulated control to maintain the output voltage, current, or
power of the power supply within a regulated range are also
known These switches utilize an oscillator and related
circuitry to vary the switching frequency of operation of the
switch, and therefore regulated the power, current or voltage
that is supplied by the power supply.

Aproblem with utilizing pulse width modulated switches
is that they operate at a relatively high frequency compared
to the frequency of the AC mains voltage, which results in
a high frequency signal being generated by the power
supply. This high frequency signal is injected back into the
AC mains input and becomes a component of the AC mains
signal. 'l`he high frequency signals are also radiated by the
power supply as electromagnetic waves. These high fre-
quency signals add to the Electromagnetic lnterfcrence
(EMl) of the power supply, and in fact are the largest
contributors to the El\/ll of the power supply, The EMI
generated by the power supply can cause problems for
communications devices in the vicinity of the power supply
and the high frequency signal which becomes a component
of the AC mains signal will be provided to other devices in
the power grid which also causes noise problems for those
devices Further, the radiated EMI by the power supply can
interfere with radio and television transmissions that are
transmitted over the air by various entities.

To combat the problem of EMI, several specifications
have been developed by the F-ederal Communications Com-
mission (FCC) in the United States and the European
Cotnniunity (_EC) have established specification that specify
the maximum amount of EMI that can be produced by
classes of electronic devices Since power supplies generate
a major component of the EMI for electronic devices, an
important step in designing a power supply is minimizing
the EMI provided by the power supply to levels with the
acceptable limits of the various standards Since, a power
supply can be utilized in many different countries of the
world, the EMI produced should be within the most stringent
limits worldwide to allow for maximum utilization of the
power supply.

A known way of minimizing the EMI provided by the
power supply is by adding an EMI filter to the input of the
power supply An EMI filter generally utilizes at least one
inductor, capacitor and resistor in combination However,
the greater EMI produced by the power supply the larger the
components that are utilized as part of the EI\/ll filter The
cost of the EMI filter is in large part determined by the size
of the inductor and capacitor utilized The longer the
coniponents, the higher the cost of the power supply.
Further, simply utilizing an EMI filter does not address the
radiated EMI.

Another problem associated with pulse width modulated
switches results from operation of the power supply at start

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up. At start up, the voltage, current and power at the output
of the power supply will essentially be Zero. The pulse width
modulated switch will then conduct for the maximum pos-
sible amount of time in each cycle of operation The result
of this is a maximum inrush current into the power supply
The maximum inrush current is greater than the current that
is utilized during normal operation of the power supply, The
maximum inrush current stresses the components of power
supply and switch Stress is specifically a problem for the
switch, or transistor, the transformer of the power supply,
and the secondary side components of the power sup ply. 'l`he
stress caused by the maximum inrush current decreases the
overall life of the power supply and increases the cost of the
power supply because the maximum rating of the compo-
nents used in the power supply to not destruct from the
inrush currents will be greater than the maximum rating
required for normal operation `

Further, when the pulse width modulated switch conducts
for the maximum possible amount of time in each cycle of
operation the voltage, current and power at the output of the
power supply rise rapidly Since the feedback circuit of the
power supply often does not respond as fast as the operating
frequency of the switch, the rapid rise of the voltage, current
and power will often result in an overshoot of the maximum
voltage in the regulation range which will cause damage to
the device being supplied power by the power supply,

Referring to FIG. `l a known power supply that attempts
to minimize EMI and reduce startup stress is depicted A
rectitier 10 rectifics the filtered AC mains voltage 5, from
EMI filter 120, input by the AC mains to generate a rectified
voltage 15. Power supply capacitor 20 then generates a
substantially DC voltage with a ripple component The
rectified voltage 15 with ripple component is provided to the
primary winding 35 of transformer 40 that is used to provide
power to secondary winding 45. 'l`he output of secondary
winding 45 is provided to secondary rectifier 50 and sec-
ondary capacitor 55 that provide a secondary DC voltage 60
at the power supply output 65 to the device that is coupled
to the power supply.

Iti order to maintain the secondary DC voltage within a
regulate range a feedback loop including an optoeouplcr 70,
zener diode 75 and a feedback resistor 80 provides a signal
indicative of the voltage at the power supply output 65 to
feedback pin 85 of pulse width modulated switch 90. The
voltage magnitude at the feedback terminal is utilized to
vary the duty cycle of a switch coupled between the drain
terminal 95 and common terminal 100 of the pulse width
modulated switch 90. By varying the duty cycle of the
switch the average current flowing through the primary
winding and therefore the energy stored by the transformer
40 which in turn controls the power supplied to the power
supply output 65 is kept within the regulated range. A
compensation circuit 105 is coupled to the feedback pin 85
in order to lower the bandwidth of the frequency of opera-
tion of the pulse width niodulator.

Inrush currents are minimized at start up by use of soft
start capacitor 110. Soft start functionality is termed to be a
functionality that reduces the inrush currents at start up. At
this instant a current begins to iiow through feedback
resistor 80 and thereby into soft start capacitor 110. As the
voltage of soft start capacitor 110 increases slowly, current
will flow through light emitting diode 115 of optocoupler 70
thereby controlling the duty cycle of the switch. Once the
voltage of the Soft start capacitor 110 reaches the reverse
breakdown voltage of zener diode 75 current will flow
through zener diode 75. The approach described above will
reduce the inrush currents into the power supply, however,

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it will be several cycles before the light emitting diode 115
will begin conducting During the several cycles the maxi-
mum inrush current will still flow through the primary
winding and other secondary side components. During these
cycles the transformer may saturate, and therefore the trans»
former may have to be designed utilizing a higher core size
than would be required for normal operation even with the
use of soft start capacitor as in FIG, 1.

'l`o reduce the EMI output by the power supply an EMl

filter 120 is utilized Additionally, pulse width modulated '

switch 90 is equipped with frequency oscillation terminals
125 and 130. Frequency oscillation terminal 125 and 130
receive a jitter current 135 that varies according to the ripple
component of substantially DC voltage 15. The jitter current
135 is used to vary the frequency of the saw-toothed
waveforrn generated by the oscillator contained in the pulse
width modulated switch 90. The saw toothed Waveform
generated by the oscillator is compared to the feedback
provided at the feedback pin 85, As the frequency of the saw
toothed waveforrn varies, so will the switching frequency of
the switch coupled between the drain and common terminal.
This allows the switching frequency of the switch to be
spread over a larger bandwidth, which minimizes the peak
value of the EMI generated by the power supply at each
frequency. By reducing the EMI the ability to comply with
government standards is increased, because the government
standards specify quasi-peak and average values at given
frequency levels. Varying the frequency of operation of the
pulse width modulated switch by varying the oscillation
frequency of the oscillator is referred to as frequency jitter.

A problem associated with the EMI reduction scheme
described with respect to FIG. l is that the ripple component
will have variances due to variations in the line voltage and
output load. Additionally, since the ripple may vary, design
and the component value of EMI resistor 140 is difficult to
determine and correspondingly design of the power supply
becomes problematic

SUMMARY ()F 'l`l~lE INVEN'l`lON

In one embodiment the present invention comprises a
pulse width modulated switch comprising a switch that
allows a signal to be transmitted between a first terminal and
a second terminal according to a drive signal. The pulse
width modulated switch also comprises a frequency varia-
tion circuit that provides a frequency variation signal and an
oscillator that provides an oscillation signal having a fre-
quency that varies within a frequency range according to the
frequency variation signal. The oscillator further provides a
maximum duty cycle signal comprising a first state and a
second state. The pulse width modulated circuit further
comprises a drive circuit that provides the drive signal when
the maximum duty cycle signal is in the first state and a
magnitude of the oscillation signal is below a variable
threshold level.

Another embodiment of the present invention comprises
a pulse width modulated switch comprising a switch com-
prising a control input, the switch allowing a signal to be
transmitted between a first terminal and a second terminal
according to a drive signal The pulse width modulated
switch also comprises an oscillator that provides a maximum
duty cycle signal comprising an on-state and an oH-state, a
drive circuit that provides the drive signal, and a soft start
circuit that provides a signal instructing said drive circuit to
disable the drive signal during at least a portion of said
on-state of the maximum duty cycles

ln an alternate embodiment the present invention com~
prises a regulation circuit comprising a switch that allows a

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signal to be transmitted between a first terminal and a second
terminal according to a drive signal, a drive circuit that
provides the drive signal and a soft start circuit that provides
a signal instructing the drive circuit to disable the drive
signal

ln yet another embodiment the present invention com-
prises a regulation circuit comprising a switch that allows a
signal to be transmitted between a first terminal and a second
terminal according to a drive signal, a frequency variation
circuit that provides a frequency variation signal, and a drive
circuit that provides a drive signal for a maximum time
period of a time duration cycle, The time duration of the
cycle varies according to the frequency variation signal

ln the above referenced embodiments the pulse width
modulated switch or regulation circuit may comprise a
monolithic device.

An object of an aspect of the present invention is directed
to a pulse width modulated switch that has integrated soft
start capabilities

Ariother object of an aspect of the present invention is
directed toward a pulse width modulated switch that has
integrated frequency variation capabilities

Yet another object of an aspect of the present invention is
directed toward a pulse width modulated switch that has
integrated frequency variation capabilities and integrated
soft start capabilities

A further object of an aspect of the present invention is
directed toward a low cost regulated power supply that has
both soft start and frequency variation capabilities

This and other objects and aspects of the present inven-
tions are taught, depicted and described in the drawings and
the description of the invention contained herein.

BRIEF DESCRIPTION OF THE DRAWINGS

FIG. 1 is a known power supply utilizing a pulse width
modulated switch, and external soft start, and frequency
jitter functionality.

FIG. 2 is a presently preferred power supply utilizing an
pulse width modulated switch according to the present
invention

FIG. 3 is a presently preferred pulse width modulated
switch according to the present invention

FIG. 4 is a timing diagram of the' soft start operation of the
presently preferred pulse Width modulated switch according
to the present invention

FIG. 5 is a timing diagram of the frequency jitter opera-
tion of the presently preferred pulse width modulated switch
according to the present invention.

FIG, 6 is an alternate presently preferred pulse width
modulated switch according to the present invention

FIG. 7 is a timing diagram of the operation of the alternate
presently preferred pulse width modulated switch of FlG. 6
according to the present invention

F`IG, 8 is a presently preferred power supply utilizing a
regulation circuit according to the present invention.

FIG. 9 is a presently preferred regulation circuit according
to the present invention

DESCRIPTI()N OF THE PREFERRED
EMBODIMENT
Referring to FIG. 2, EMI filter 200 is coupled to an AC

mains voltage 205. The AC mains voltage 205 is rectified by
rectifier 210. 'l`he rectified voltage 215 is provided to power

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supply capacitor 220 which provides a substantially DC
voltage 225. The substantially DC voltage 225 is provided to
the primary winding 230 of transformer 235 which stores the
energy provided to the primary winding 230. When the
primary winding 230 is no longer receiving energy, energy
is delivered by the transformer 235 to the secondary winding
240. 'lhe voltage induced across the secondary winding 240
is rectified by rectifier 245 and then transformed into sec-
ondary substantially DC voltage 265 by secondary capacitor
260 and provided to the power supply output 267.

Energy is no longer provided to the primary winding 230
when the pulse width modulated switch 262, which is
coupled to the primary winding 230, ceases conduction.
Pulse width modulated switch 262 is a switch that is
controlled by a pulse width modulated signal. Pulse width
modulated switch 262 conducts and ceases eonduction
according to a duty cycle, that is in part determined by
feedback from the power supply output 267. Pulse Width
modulated switch 262 is a switch that operates according to
pulse width modulated control. Feedback to the pulse width
modulated switch 262 is accomplished by utilization of
feedback circuit 270, which is presently preferred to com~
prise a zener diode 275 in series with a resistor 280 and
optocoupler 285. Optocoupler 285 provides a feedback
current 290 to feedback terminal 295 of pulse width modu-
lated switch 262. The feedback current is utilized to vary the
duty cycle of a switch coupled between the first terminal 300
and second terminal 305 and thus regulate the output
voltage, current or power of the power supply,

Although, it is presently preferred that the output voltage
is utilized for feedback, the present invention is also capable
of utilizing either the current or power at the power supply
output 267 without departing from the spirit and scope of the
present invention

Aportion of the current supplied at the feedback terminal
295 is utilized to supply bias power for operation of the
pulse width modulated switch 262. 'l`he remainder of the
current input at the feedback terminal 295 is utilized to
control the duty cycle of the pulse width modulated switch
262, with the duty cycle being inversely proportional to the
feedback current

Abias winding 310 is utilized to bias optocoupler 285 so
that a feedback current can dow when light emitting diode
315 of optocouplcr 285 conducts The power supplied by the
bias winding 310 is also used to charge pulse width modu-
lation capacitor 330, the energy from which is utilized to
power the pulse width modulated switch 262.

Overvoltage protection circuit 335 is utilized to prevent
overvoltages from propagating through to the transformer
235.

Pulse width modulated switch 262 is supplied power
during start up of the power supply by current iiowing into
the first terminal 300. An embodiment of one type of
apparatus and method for designing a configuration for
providing power to pulse width modulated switch through
first terminal 300 is disclosed in commonly owned U.S. Pat.
No, 5,014,178 which is incorporated herein by reference in
its entirety.

The drain terminal 300, source terminal 305 and feedback
terminal 295 are the electrical input and/or output points of
the pulse width modulated switch 262. They need not be part
of a monolithic device or integrated circuit, unless the pulse
width modulated switch 262 is implemented utilizing a
monolithic device or integrated circuit

Pulse width modulated switch 262 also may have soft
start capabilities When the device to which the power

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supply is coupled is switched on, a power up signal is
generated within the internal circuitry of pulse width modu-
lated switch 262, The power up signal is used to trigger soft
start circuitry that reduces the duty cycle of the switch that
operates within the pulse width modulated switch 262 for a
predetermined period of time, which is presently preferred to
be ten (10) milliseconds, Once soft start operation is
completed, pulse width modulated switch 262 operates
according to its regular duty cycle.

Alternatively, or in addition to soft start functionality,
pulse width modulated switch 262 may also have frequency
jitter functionality That is, the switching frequency of the
pulse width modulated switch 262 varies according to an
internal frequency variation signal This has an advantage
over the frequency jitter operation of FlG. 1 in that the
frequency range of the presently preferred pulse width
modulated switch 262 is known and fixed, and is not subject
to the line voltage or load magnitude variations At low
powers, those less than approximately ten (10) watts, the
common mode choke which is often utilized as part of the
EMl filter 120 can be replaced with inductors or resistors.

As can be seen when comparing the power supply of i"lG.
1 to that of FIG. 2 the number of components utilized is
reduced. 'I`his reduces the overall cost of the power supply
as well as reducing its size.

Referring to PIG. 3, frequency variation signal 400 is
utilized by the pulse width modulated switch 262 to vary its
switching frequency Within a frequency range The fre-
quency variation signal 400 is provided by frequency varia-
tion circuit 405, which preferably comprises an oscillator
that operates at a lower frequency than main oscillator 465.
The frequency variation signal 400, is presently preferred to
be a triangular waveforrn that preferrably oscillates between
four point five (4.5) volts and one point five (1.5) volts.
Although the presently preferred frequency variation signal
400 is a triangular waveforrn, alternate frequency variation
signals such as ramp signals, counter output signals or other
signals that vary in magnitude during a fixed period of time
may be utilized as the frequency variation signal

The frequency variation signal 400 is provided to soft
start circuit 410 During operation soft start circuit 410 is
also provided with pulse width modulation frequency signal
415 and power up signal 420. Soft start enable signal 421
goes high at power up and remains high until oscillator
signal 400 reaches its peak value for the first time. Soft start
circuit 410 will provide a signal to`or-gate 425 to reset latch
430 thereby deactivating eonduction by the switch 435,
which is presently preferred to be a MOSFET. Soft start
circuit 410 will instruct switch 435 to cease conduction
when the soft start enable signal 421 is provided and the
magnitude of the frequency variation signal 400 is less than
the magnitude of pulse width modulation signal 415. In
other words, start up circuit 410 will allow the switch 435 to
conduct as long as soft start enable signal is high and the
magnitude of the pulse width modulat'ion signal 415 is
below the magnitude of frequency variation signal 400 as
depicted in FIG, 4. In this way, the inrush current at startup
will be limited for all cycles of operation, including the first
cycle. By limiting the inrush current during all cycles of
startup operation, the maximum current through each of the
components of the power supply is reduced and the maxi-
mum current rating of each component can be decreased
The reduction in the ratings of the components reduces the
cost of the power supply, Soft start signal 440 will no longer
be provided by the frequency variation circuit 405 when the
frequency variation signal 400 reaches its peak magnitude

Operation of soft start circuit 410 will now be explained
Soft start circuit 410 comprises a soft start latch 450 that at

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its set input receives the power up signal 420 and its reset
input receives the soft start signal 440. Soft start enable
signal 421 is provided to one input of soft start and»gate 455
while the other input of soft start and-gate 455 is provided
with an output from soft start comparator 460. The output of
soft start comparator 460 will be high when the magnitude
of frequency variation signal 400 is less than the magnitude
of pulse width modulation oscillation signal 415.

The pulse width modulated switch 262 depicted in FIG. 3

also has frequency jitter functionality to help reduce the EMI ~

generated by the power supply and pulse width modulated
switch 262. Operation of the frequency jittcr functionality
will now be explained Main oscillator 465 has a current
source 470 that is mirrored by mirror current source 475,
Main oscillator drive current 615 is provided to the current
source input 485 of PWM oscillator 480. The magnitude of
the current input into current source input 485 of PWM
oscillator 480 determines the frequency of the pulse width
modulation oscillation signal 415 which is provided by
PWI\/l oscillator 480. In order to vary the frequency of pulse
width modulation oscillation signal 415, an additional cur-
rent source 495 is provided within main oscillator 465. The
additional current source 495 is mirrored by additional
current source mirror 500. The current provided by addi-
tional current source 495 is varied as follows. Frequency
variation signal 400 is provided to the gate of main oscillator
transistor 505. As the magnitude of frequency variation
signal 400 increases so does the voltage at the source of
main oscillator transistor 505, due to the increasing voltage
at the gate of main oscillation transistor and the relatively
constant voltage drop between the gate and source of the
main oscillation transistor 505. As the voltage at the source
of main oscillation transistor 505 increases so does the
current flowing through the main oscillation resistor 510.
The current flowing through main oscillation resistor 510 is
the same as the current iiowing through additional current
source 495 which is mirrored by additional current source
mirror 500. Sincc, the presently preferred frequency varia-
tion signal 400 is a triangular waveform having a fixed
period, the magnitude of the current input by additional
current source mirror 500 will vary linearly with the mag~
nitude of the rising and falling edges of the frequency
variation signal 400. If the frequency variation signal 400 is
a ramp signal, the frequency would linearly rise to a peak
and then immediately fall to is lowest value. ln this way, the
current provided to current source input 485 of PWM
oscillator 480 is varied in a known fixed range that allows
for easy and accurate frequency spread of the high frequency
current generated by the pulse width modulated switch.
Further, the variance of the frequency is determined by the
magnitude of the current provided by additional current
source mirror 500, which is in turn a function of the
resistance of main oscillation resistor 510.

Frcquency variation circuit 405 includes a current source
525 that produces a fixed magnitude current 530 that deter-
mines the magnitude of the frequency of the frequency
variation signal 400. Although, the presently preferred cur-
rent 530 has a fixed magnitude, the frequency variation
signal can he generated utilizing a variable magnitude
current, if a variable current is generated the frequency
spread would riot be fixed in time but would vary with the
magnitude of current 530. The fixed magnitude current 530
is fed into first transistor 535, mirrored by second transistor
540 and fed into third transistor 545. 'l`he frequency varia~
tion signal 400 is generated by the charging and discharging
of frequency variation circuit capacitor 550. Frequcncy
variation circuit capacitor 550 is presently preferred to have

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a relatively low capacitance, which allows for integration
into a monolithic chip in one embodiment of the pulse width
modulated switch 262, The frequency variation signal 400 is
provided to upper limit comparator 555 and lower limit
comparator 560. The output of upper limit comparator 555
will be high when the magnitude of the frequency variation
signal 400 exceeds the upper threshold voltage 552 which is
presently preferred to be four point live (4.5) volts. The
output of lower limit coinparator 560 will be high when the
magnitude of frequency variation signal 400 exceeds lower
threshold voltage 557 which is presently preferred to be one
point five volts (1.5) volts. The output of upper limit
comparator 555 is provided to the frequency variation circuit
inverter 565 the output of which is provided to the reset
input of frequency variation circuit latch 570. The set input
of frequency variation circuit latch 570 receives the output
of lower limit comparator 560. ln operation, the output of
lower limit comparator 560 will be maintained high for the
majority of each cycle of frequency variation signal 400
because the magnitude of frequency variation signal will be
maintained between upper threshold 552, 4.5 volts, and the
lower threshold 557, 1.5 volts, ’l`he output of upper limit
comparator 555 will be low until the magnitude of frequency
variation signal 400 exceeds upper level threshold 552. This
means that the reset input will receive a high signal until the
magnitude of the frequency variation signal 400 rises above
thc upper threshold signal 552.

The charge signal 575 output by frequency variation
circuit latch 570 will be high until the frequency variation
signal 400 exceeds the upper threshold limit signal 552.
When the charge signal 575 is high, transistors 585 and 595
are turned off. By turning off transistors 585 and 595 current
can flow into frequency variation circuit capacitor 550,
which steadily charges frequency variation circuit capacitor
550 and increases the magnitude of frequency variation
signal 400. The current that flows into frequency variation
circuit capacitor 550 is derived from current source 525
because the current through transistor 590 is mirrored from
transistor 580, which is mirrored from transistor 535.

During power up, when power-up signal 420 is low, the
output of inverter 605 is high which turns on transistor 600
causing frequency variation signal 400 to go low. The
frequency variation signal 400 is presently preferred to start
from its lowest level to perform the soft start function during
its first cycle of operation

Steady-state operation of the pulse width modulated
switch 262, i.e. non start up operation, will now be
described PWM oscillator 480 provides pulse width modu~
lation oscillation signal 415 to pulse width modulation
comparator 609, the output of which will be high when the
magnitude of pulse width modulation signal 415 is greater
than the magnitude of a feedback signal 296 which is a
function of the input provided at feedback terminal 295.
When the output of pulse width modulation comparator 609
is high or~gate 425 is triggered to go high, which in turn
resets pulse width modulation latch 430, removing the on
signal from the control input of switch 435, thereby turning
off switch 435, Pulse width modulation latch 430 is set by
clock signal 603, which is provided at the beginning of each
cycle of pulse width modulation oscillator 480. Drive circuit
615, which is presently preferred to be an and-gate, receives
the output of pulse width modulation latch 430, power up
signal 420, and maximum duty cycle signal 607. As long as
each one of the signals is high, drive signal 610 is provided
to the gate of M()SFET 435, which is coupled between first
terminal 300 and second terminal 305 of thc pulse width
modulated switch 262, When any of the output of pulse

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width modulation latch 430, power up signal 420, or maxi-
mum duty cycle signal 607 goes low drive signal 610 is no
longer provided and switch 435 ceases conduction.
Referring to FIG. 4, frequency variation signal 400 pref-
erably has a period, which is greater than that of pulse width
modulated oscillation signal 415. The presently preferred
period for frequency variation signal 400 is twenty (20)
milliseconds, in order to allow for a smooth start up period
which is suliiciently longer than the period of pulse width

modulated signal 415 which is presently preferred to he ten `

(l()) microsecouds. Drive signal 610 will be provided only
when the magnitude of pulse width modulated signal 415 is
less than the magnitude of frequency variation signal 400.
Further, frequency variation signal 400 will be preferably

initiated starting from low voltage when power up signal ‘

420 is provided

Referrin g to F`IG. 5, frequency variation sign al 400 which
is presently preferred to have a constant period is provided
to the main oscillator 465. 'l`he magnitude of the pulse width
modulator current 615 will approximately be the magnitude
of frequency variation signal 400 divided by the resistance
of resistor 510 plus the magnitude of the current produced by
current source 470. In this way the pulse width modulator
current 615 will vary with the magnitude of the frequency
variation signal 400. The result is that the frequency of pulse
width modulation signal is varied according to the magni-
tude of this current. lt is presently preferred that the pulse
width modulator current source produces a constant current
having a magnitude of twelve point one (12.1)
microarnperes, and that frequency variation signal induced
current 627 varies between Zero (0) and eight hundred (800)
natioamperes. Thereby spreading the frequency of operation
of the pulse width modulation oscillator 480 and reducing
the average magnitude and the quasi-peak magnitude at all
frequency levels of the EMI generated by the power supply,

Referring to FlG. 6, an alternate presently preferred pulse
width modulated switch 262 includes all of the same com-
ponents as described with respect to FIG. 3. ln addition to
these eomponents, a second frequency variation circuit
current source 660 and transistor 655 are added to the
frequency variation circuit 405. Transistor 655 is activated
only when the output of soft start latch 450 goes low. When
transistor 655 is activated the current provided to the fre-
quency variation circuit 405 increases as does the frequency
of frequency variation signal 400, liowever, transistor 655
will only be turned on when the output of soft start latch 450
goes low, i.e. when the magnitude of frequency variation
signal 400 first reaches the upper threshold after power up,
The period of frequency variation signal 400 will then
increase after its first half cycle. This will decreases the
period of the cycle during which the frequency is spread,
without decreasing the frequency range. The benth of the
decreased cycle period will further decrease the quasi~peak
levels of the EMI due to spending less time at each fre~
quency level.

Referring to FIG. 7, operation of the frequency variation
circuit 405 of FIG. 6 is depicted Frequency variation signal
400 will preferably have a period often (10) milliseconds for
its first half cycle. After that, when the transistor 655 is
turned on the period is preferably decreased to five (5)
milliseconds. Pulse width modulated switch 262 is presently
preferred to be a monolithic device.

Referring to lilG. 8, a power supply comprises a bridge
rectiiier 710 that rectifies an input AC mains voltage Power
supply capacitors 720 charge with the rectified AC mains
voltage to maintain an input DC voltage 725. A presently

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preferred range for input DC voltage 725 is approximately
one hundred (100) to four hundred (40(]) volts to allow for
operation based upon worldwide AC mains Voltages which
range between eighty five (85) and two hundred sixty five
(265) volts. T he presently preferred power supply also
includes harmonic filter components 910 which in combi~
nation with capacitors 720 reduce the harmonic current
injected back into the power grid. Transformer 730 includes
a primary winding 740 magnetieally coupled to secondary
winding 750. The secondary winding 750 is coupled to a
diode 760 that is designed to prevent current flow in the
secondary winding 750 when the regulation circuit 850 is
conducting (on-state). A capacitor 770 is coupled to the
diode 760 in order to maintain a continuous voltage on a
load 780 which has a feedback circuit coupled to it, A
presently preferred feedback circuit comprises an optocou-
pier 800 and Zener diode 820. The output of optocoupler 800
is coupled to the feedback terminal 825 of regulation circuit
850. 'l`he presently preferred regulation circuit 850 switches
on and off at a duty cycle that is constant at a given input DC
voltage 725. A regulation circuit power supply bypass
capacitor 860 is coupled to and supplies power to regulation
circuit 850 when the regulation circuit 850 is in the on~state.

Operation of the power supply will now be described An
AC mains voltage is input through EMI filter 700 into bridge
rectifier 710 which provides a rectified signal to power
supply capacitors 720 that provide input DC voltage 725 to
primary winding 740. Regulation circuit 850, which prefer-
ably operates at a constant frequency and about constant
duty cycle at a given input DC voltage 725, allows current
to liow through primary winding 740 during its on state of
each switching cycle and acts as open circuit in its off state.
When current flows through primary Winding 740 trans-
former 730 is storing energy, when no current is flowing
through primary winding 740 any energy stored in trans-
former 730 is delivered to secondary winding 750. Second~
ary winding 750 then provides the energy to capacitor 770.
Capacitor 770 delivers power to the load 780. The voltage
across the load 780 will vary depending on the amount of
energy stored in the transformer 730 in each switching cycle
Which is in turn dependent on the length of time current is
flowing through primary winding 740 in each switching
cycle which is presently preferred to be constant at a given
input DC voltage 725. The presently preferred regulation
circuit 850 allows the voltage delivered to the load to be
maintained at a constant level.

lt is presently preferred that the sum of the voltage drop
across optocoupler 800 and the reverse break down voltage
of Zener diode 820 is approximately equal to the desired
threshold level. When the voltage across the load 780
reaches the threshold level, current begins to llow through
the optocoupler 800 and Zener diode 820 that in turn is used
to disable the regulation circuit 850. Whenever regulation
circuit 850 is in the oif-state the regulation circuit power
supply bypass capacitor 860 is charged to the operating
supply voltage, which is presently preferred to be five point
seven (5.7) volts hy allowing a small current to flow from
bypass terminal 865 to the regulation circuit power supply
bypass capacitor 860. Regulation circuit power supply
bypass capacitor 860 is used to supply power to operate
regulation circuit 850 when it is in the on~state.

When the regulation circuit 850 is disabled, an open
circuit condition is created in primary winding 740 and
transformer 730 does not store energy 'l`he energy stored in

. the transformer 730 from the last cycle of regulation circuit

850 is then delivered to secondary winding 750 which in
turn supplies power to the load 780. Once the remaining

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energy in transformer 750 is delivered to the load 780 the
voltage of the load 780 will decrease. When the voltage at
the load 780 decreases below the threshold level, current
ceases to flow through optocoupler 800 and regulation
circuit 850 resumes operation either instantaneously or
nearly instantaneously

The presently preferred regulation circuit 850 has a cur~
rent limit feature. The current limit turns off the regulation
circuit 850, when the current flowing through the regulation

circuit 850 rises above a current threshold level. In this way `

regulation circuit 850 can react quickly to changes such as
AC ripple that occur in the rectitied AC mains voltage, and
prevents the propagation of the voltage changes to the load.
The current limit increases the responsiveness of the regu-
lation circuit to input voltage changes and delivers constant
power output independent of the AC mains input voltage.

Although the presently preferred power supply of FlG, 8
utilizes current mode regulation and a feedback circuit that
includes an optocoupler and zener diode, the present inven-
tion is not to be construed as to be limited to such a feedback
method or circuit. Either current or voltage mode regulation
may be utilized by the present invention without departing
from the spirit and scope of the present invention so long as
a signal indicative of the power supplied to the load is
Supplied to the feedback terminal 825 of the regulation
circuit 850. Additionally, although the presently preferred
power supplies both utilize an optocoupler and zener diode
as part of feedback circuits other feedback circuits may be
utilized by the present invention without departing from the
spirit and scope of the present invention.

Regulation circuit 850 also may have integrated soft start
capabilities When the device to which the power supply is
coupled is switched on, a power up signal is generated
within the internal circuitry of regulation circuit 850. A
power up signal is used to trigger soft start circuitry that
reduces the duty cycle of the switch that operates within the
pulse width modulated switch 262 for a predetermined
period of time, which is presently preferred to be ten (10)
milliseconds. Once soft start operation is completcd, regu-
lation circuit 850 operates according to its regular duty
cycle.

Alternatively, or in addition to soft start functionality,
regulation circuit 850 may also have frequency jitter func-
tionality That is, the switching frequency of the regulation
circuit 850 varies according to an internal frequency varia-
tion signal This has an advantage over the frequency jitter
operation of FIG, 1 in that the frequency range of the
presently regulation circuit 850 is known and ftxed, and is
not subject to the line voltage or load magnitude variations

Referring to FIG. 9, frequency variation circuit 405 and
main oscillator 465 function as described with respect to
FIG. 3. In operation it is the variance of the high and low
states of maximum duty cycle signal 607 that generates the
frequency jitter functionality of the regulation circuit 850. A
presently preferred regulation circuit 850 and its steady-state
operation is depicted and described in copending patent
application Ser. No. 09/032,520 which is hereby incorpo-
rated by reference in its entirety

The regulation circuit of FiG. 9 can be modified to include
a second current source to further increase the period of
main oscillation signal 415 which achieves the same result
and function as described with respect of FlGS. 6 and 7 .

'lhe soft start functionality of the presently preferred
regulation circuit 850 of FIGA 9, will shorten the on~time of
switch 435 to less than the time of the maximum duty cycle
signal 607 as long as the soft start enable signal 421 is

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provided and the magnitude of frequency variation signal
400 is less than the magnitude of main oscillation signal 415.

The presently preferred regulation circuit 850 preferably
comprises a monolithic device

While the embodiments, applications and advantages of
the present invention have been depicted and described,
there arc many more cmbodiments, applications and advan~
tages possible Without deviating from the spirit of the
inventive concepts described herein, Thus, the inventions
are not to be restricted to the preferred embodiments,
specification or drawings The protection to be afforded this
patent should therefore only be restricted in accordance with
the spirit and intended scope of the following claims

What is claimed is:

1. A pulse width modulated switch comprising:

a first tcrminal; '

a second terminal;

a switch comprising a control input, said switch allowing
a signal to be transmitted between said first terminal
and said second terminal according to a drive signal
provided at said control input;

a frequency variation circuit that provides a frequency

variation signal;

an oscillator that provides an oscillation signal having a

frequency range, said frequency of said oscillation
signal varying within said frequency range according to
said frequency variation signal, said oscillator further
providing a maximum duty cycle signal comprising a
first state and a second state; and

a drive circuit that provides said drive signal when said

maximum duty cycle signal is in said first state and a
magnitude of said oscillation signal is below a variable
threshold level.

2. The pulse width modulated switch of claim 1 wherein
said first terminal, said second terminal, said switch, said
oscillator, said frequency variation circuit and said drive
circuit comprise a monolithic device.

3. T he pulse width modulated switch of claim 1 wherein
said frequency variation circuit comprises an additional
oscillator that provides said frequency variation signal to
said oscillator, said frequency of said oscillation signal
varying within said frequency range according to said free
quency variation signal

4. 'l`he pulse width modulated switch of claim 1 further
comprising a soft start circuit that provides a signal instruct~
ing said drive circuit to discontinue said drive signal when
said magnitude of said oscillation signal is greater than a
magnitude of said frequency variation signal.

5. The pulse width modulated switch of claim 4 wherein
said additional oscillator provides a soft start signal, and
wherein said soft start circuit ceases operation when said
soft start signal is removed

6. The pulse width modulated circuit of claim 5 Wherein
said additional oscillator further comprises

a comparator that provides a comparator signal when a
magnitude of a reference signal is greater than or equal
to a magnitude of said frequency variation signal, and

an inverter that receives said comparator signal and
provides said soft start signal.

7 . The pulse width modulated switch of claim 1 wherein
said frequency of said oscillation,signal varies within said
frequency range with a magnitude of said frequency varia-
tion signalr

8. The pulse width modulated switch of claim 1 wherein
said oscillator comprises a an input that receives said

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frequency variation signal and a current source, wherein said
frequency of said oscillation signal is a function of a sum of
a magnitude of a current provided by said current source and
a magnitude of said frequency variation signal.
9. The pulse width modulated switch of claim l further
comprising;
a rectifier comprising a rectifier input and a rectifier
output, said rectifier input receiving an AC mains signal
and said rectifier output providing a rectified signal;

a power supply capacitor that receives said rectified signal v

and provides a substantially DC signal;

a first winding comprising a first terminal and a second
terminal, said first winding receiving said substantially
DC signal, said second terminal of said first winding
coupled to said first terminal of said switch; and

a second winding magnetically coupled to said first wind-

ing,

10. The pulse width modulated switch of claim 1 wherein
said variable threshold level is a function of a feedback
signal received at a feedback terminal of said pulse width
modulated switch,

11. A regulation circuit comprising:

a first terminal;

a second terniinal;

a feedback terminal coupled to disable the regulation

circuit;

a switch comprising a control input, said switch allowing

a signal to be transmitted between said first terminal
and said second terminal according to a drive signal
provided at said control input;

a frequency variation circuit that provides a frequency

variation signal;

an oscillator that provides an oscillation signal having a

frequency range, said frequency of said oscillation
signal varying within said frequency range according to
said frequency variation signal, said oscillator further
providing a maximum duty cycle signal comprising a
first state and a second state; and

a drive circuit that provides said drive signal when said

maximum duty cycle signal is in said first state and said
regulation circuit is not disabled

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12. The regulation circuit of claim 11 wherein said
frequency variation circuit comprises an oscillator that pro-
vides said frequency variation signal

13. The regulation circuit of claim 11 further comprising
a soft start circuit that provides a signal instructing said drive
circuit to discontinue said drive signal according to a mag~
nitude of said frequency variation signal.

14. The regulation circuit of claim 13 further wherein said
frequency variation circuit provides a soft start signal, and
wherein said soft start circuit ceases operation when said
soft start signal is removed.

15. The regulation circuit of claim 14 wherein said
frequency variation circuit further comprises

a comparator that provides a comparator signal when a
magnitude of a reference signal is greater than or equal
to a magnitude of said frequency variation signal, and

an inverter that receives said comparator signal and
provides said soft start signal.

16. The regulation circuit of claim 11 wherein said first
terminal, said second terminal, said switch, said frequency
variation circuit, and said drive circuit comprise a mono-
lithic device.

17 . The regulation circuit of claim 11 further comprising;

a rectifier comprising a rectifier input and a rectifier
output, said rectifier input receiving an AC mains signal
and said rectifier output providing a rectified signal;

a power supply capacitor that receives said rectified signal
and provides a substantially DC signal;

a first winding comprising a first terminal and a second
terminal, said first winding receiving said substantially
DC signal, said second terminal of said first winding
coupled to said first terminal of said switch; and

a second winding magnetically coupled to said first wind-
ing

18i The regulation circuit of claim ll further comprising
a current limit circuit that provides a signal instructing said
drive circuit to discontinue said drive signal when a current
received at said first terminal of said regulation circuit is
above a threshold level.

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§§!;Y;%(\K,;II§B;§;VI£?§H[NG bREQUhN(/Y Ashok Bindra, “Power-Conversion Chip Cuts Energy Wast-

age in Oif-Linc Switchers,” Electronic Design, pp. 46,48,
(75) Inventors: Balu Balakrishnan; Alex I)jenguerian, Ocr‘ 1998'
both of Saratoga; Leif Lund, San Jose, * cited by examiner
all of CA (US)
Primary Examiner»-Dcnnis l\/I. Butlcr
(73) Assignee: Power Integrations, Inc., San Jose, CA (74) Allomey, Agem, orFirm-Blal<ely, Sokoloff, 'l`aylor &
(US) Zaflnan, LLP.

( * ) Notice: Suhject to any disclaimer, the term of this (57) ABSTRACT
patent is extended or adjusted under 35

EMI emission is reduced by jittering the switching fre~
U.S.C. 154(b) by() days

quency of a switched mode power supply An oscillator with
a control input for varying the oscillator’s switching fre-

21 Ap l. No.: 09/192,959 uency generates a `ittered clock signal4 In one embodiment,
p qh `ll ` l d l k d b h

. _ t e osci ator is connecte to a counter coe e y t e

(22) Frled' Nov' 16’ 1998 oscillator. The counter drives a digital to analog converter,
(5]) Int. Cl.7 ........................................................ G()6F `1/04 WhOS€ mile is wilnede 10 the COerl input Of 1116

(52) U_S' CL _________________________ 713/501; 713/300; 713/503 oscillator for varying the oscillation frequency In another
(58) Ficld of Search 713/300 320 embodiment, the oscillator is connected to a low frequency

713/322 S()() 501 503 oscillator whose low frequency output is used to supplement
` ` ` ’ ' ’ ` " ` ' the output of the oscillator for jittering the switching fre-

(56) References Cited quency. The invention thus deviates or jitters the switching
frequency of the switched mode power supply oscillator

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FIG. 2

 

 

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FIG. 5

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FREQUENCY JITTERING C()NTROL FOR
VARYING THE SWITCHING FREQUENCY
C)F A POWER SUPPLY

BACKGROUND

The present invention relates to an off-line switched mode
control system with frequency jittering.

Many products rely on advanced electronic components
to cost-effectively provide the product with the desired
functionality 'l`hese electronic components require power
regulation circuitry to supply them with a clean and steady
source of power. The development of switched mode power
supply technology has led to power supplies operating at
high frequency to achieve small size and high efficiency
Each switched mode power supply typically relies on an
oscillator switching at a fixed switching frequency or alter-
natively a variable frequency (such as in a ringing choke
power supply).

Due to the high frequency operation relative to the
frequency of an alternating current (AC) power line,
switched mode power supplies can exacerbate problems
associated with electromagnetic interference (EMI). EMI
noise is generated when voltage and current are modulated
by the switching power supply This electrical noise can be
transferred to the AC power line.

In addition to affecting the operation of other electronics
within the vicinity of the power supply by conduction, EMI
induced noise on a power line may radiate or leak from the
power line and affect equipment which is not even connected
to the power line. Both conducted and radiated electrical
noise may adversely affect or interfere with the operation of
the electronic equipment For example, EMI noise generated
by the switching power supply can cause problems for
communication devices in the vicinity of the power supply.
Radiated high frequency noise components may become a
part of the AC mains signal and may be provided to other
devices in the power grid, Further, power supply radiated
EMI can interfere with radio and television transmissions

To address EMI related interfercnee, several specifica~
tions have been developed by government agencies in the
United States and in the European Community. These agen~
cics have established specifications th at define the maximum
amount of El\/ll that can be produced by various classes of
electronic devices Since power supplies generate a major
component of the EMl for electronic devices, an important
step in designing such supplies that conform to the specifi~
cations is to minimize EMI emission to the acceptable limits
of the various specifications

EMI may be reduced in a power supply by adding
snubbers and input filters. These components reduce the
noise transferred to the power line and by so doing, also
reduce the electric and magnetic fields of noise generated by
the power line. While these methods can reduce EMI, they
usually complicate the design process as well as increase the
production cost. In practice, noise filtering components are
added in an ad hoc manner and on a trial-and-error basis
during the final design process when EMI is found to exceed
the compliance limits specified by the regulatory agencies
This inevitably adds unexpected costs to the products.

Purther, extra components can undesirably increase the
size and weight of the power supply and thus the resulting
product.

SUMMARY OF THE INVENTION

EMI emission is reduced by jittering the switching frc-
quency of a switched mode power supply. ln one aspect, a

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frequency jittering circuit varies the switching frequency
using an oscillator for generating a switching frequency
signal, the oscillator having a control input for varying the
switching frequency A digital to analog converter is con-
nected to the control input for varying the switching
frequency, and a counter is connected to the output of the
oscillator and to the digital to analog converter. 'l`he counter
causes the digital to analog converter to adjust the control
input and to vary the switching frequency

Implementations of the invention include one or more of
the following The oscillator has a primary current source
connected to the oscillator control input. A differential
switch may be used With Hrst and second transistors con-
nected to the primary current souree; a third transistor
connected to the first transistor; and a fourth transistor
connected to the second transistor at a junction /-\ capacitor
and one or more comparators may be connected to the
junction The digital to analog converter has one or more
current sources, with a transistor connected to each current
source and to the counter. The primary current source may
generate a current l and each of the current sources may
generate a current lower than I. The current sources may
generate binary weighted currents, The largest current
source may generate a current which is less than about 041
of I.

ln a second aspeet, a method for generating a switching
frequency in a power conversion system includes generating
a primary eurrent; cycling one or more secondary current
sources to generate a secondary current Which varies over
time; and supplying the primary and secondary currents to a
control input of an oscillator for generating a switching
frequency which is varied over time

lmplementations of the invention include one or more of
the following A counter may be cloeked with the output of
the oscillator. The primary current may be generated by a
current source. If the primary current is I, each of the
secondary current sources may generate a supplemental
current lower than l and which is passed to the oscillator
control input. The supplemental current may be binary-
weighted. The largest supplemental current may be less than
approximately O.l of l.

ln another aspect, a method for generating a switching
frequency in a power conversion system includes generating
a primary voltage; cycling one or more secondary voltage
sources to generate a secondary voltage which varies over
time; and supplying the primary and secondary voltagcs to
a control input of a voltage-controlled oscillator for gener-
ating a switching frequency which is varied over time.

Implementations of the invention include one or more of
the following Where the primary voltage is V, each of the
secondary voltage sources may generate a supplemental
voltage lower than V which may be passed to the voltage~
controlled oscillator. The supplemental voltage may be
binary-weighted

In another aspect, a frequency jittering circuit for varying
a power supply switching frequency includes an oscillator
for generating a switching frequency signal, the oscillator
having a control input for varying the switching frequency;
and means connected to the control input for varying the
switching frequency

lmplernentations of the invention include one or more of
the following The means for varying the frequency may
include one or more current sources connected to the control
input; and a counter connected to the output of the oscillator
and to thc one or more current sources The oscillator may
include a primary current source connected to the control

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input; and a differential switch connected to the primary
current source. The dih"erential switch may have first and
second transistors connected to the primary current source;
a third transistor connected to the first transistor; and a fourth
transistor connected to the second transistor at a junction. A
capacitor and a comparator may be connected to the junc-
tion. If the primary current source generates a current I, each
of the current sources may generate a second current lower
than the current l, further comprising a transistor connected

to each current source connected to the counter. The means v

for varying the frequency may include one or more voltage
sources connected to the control input; and a counter con-
nected to the output of the oscillator and to the one or more
voltage sources, The oscillator may include a primary volt~
age source connected to the control input; and a differential
switch connected to the primary voltage source. 'l`he means
for varying the frequency may include a capacitor; a current
source adapted to charge the capacitor; and means for
alternatineg charging and discharging the capacitor. One or
more comparators may be connected to the capacitor and the
means for alternatingly charging and discharging the capaci-
tor.

In yet another aspect, a power supply includes a
transformer, an oscillator for generating a signal having a
frequency, the oscillator having a control input for varying
the frequency of the signal, the oscillator including a pri-
mary current source connected to the control input; a dif-
ferential switch connected to the primary current source; a
capacitor connected to the differential switch; and a com-
parator connected to the differential switch. The power
supply also includes a digital to analog converter connected
to the control input, the analog to digital converter having
one or more current sources, wherein the primary current
source generates a current I and each of the current sources
generates a current lower than I. A counter is connected to
the output of the oscillator and to the current sources of the
digital to analog converter, Further, a power transistor is
connected to the primary winding of the transformer so that
when the power transistor is modulated, a regulated power
supply output is provided.

In another aspect, a power supply includes a transformer
connected to an input voltage. The power supply includes an
oscillator for generating a signal having a frequency, the
oscillator having a control input for varying the frequency of
the signal, the oscillator including: a primary current source
connected to the control input; a differential switch oon-
nected to the primary current source; a capacitor connected
to the differential switeh; and a comparator connected to the
differential switch. A circuit for varying the frequency is
connected to the control input, the circuit having a capacitor;
a current source adapted to charge and discharge the capaci-
tor; one or more comparators connected to the capacitor to
the current source for alternatineg charging and discharging
the capacitor. Further, a power transistor is connected to the
oscillator and to the primary winding The power transistor
modulates its output in providing a regulated power supply
output.

Advantages of the invention include one or more of the
following The jittcring operation smears the switching
frequency of the power supply over a wide frequency range
and thus spreads energy outside of the bandwidth measured
by the EMI measurement equipment By changing the
oscillator frequency back and forth, the average noise mea~
sured by the EMI measurement equipment is reduced con-
siderably.

Further, the invention provides the required jittering with-
out requiring a large area on the regulator chip to implement

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a capacitor in a low frequency oscillator Further, the inven-
tion minimizes effects caused by leakage current from
transistors and capacitors associated with a low frequency
oscillator. Thus, the jittering operation can be maintained
even at high temperature which can increase current leakage.

Additionally, the invention reduces the need to add extra
noise filtering components associated with the EMI filter.
Therefore a compact and inexpensive power supply system
can be built with minimal EMI emissions

BRIEF DESCRIP'HON OF,THE DRAWINGS

FIG. 1 is a schematic diagram of a digital frequency
jittering device.

FIG. 2 is a plot illustrating the operation of the device of
FIG. 1.

FIG. 3 is a schematic diagram of an analog frequency
jittering device.

FIG, 4 is a schematic diagram of an implementation of the
device of FIG. 3.

P-IG. 5 is a timing diagram illustrating the operation of the
frequency jitter device of FIG. 4.

D`IG. 6 is a schematic diagram of a switched mode power
supply in accordance with the present invention

DESCRIPTION

FIG. 1 shows a digital frequency jittering circuit 100. 'l`he
digital frequency jittering circuit 100 has a primary oscilla-
tor 110 which provides a clock signal to a counter 140, The
primary oscillator 110 typically operates between 100 kHz
and 130 kHz. The counter 140 can be a seven bit counter.
Each output of counter 140, when cloeked by primary
oscillator 110, represents a particular time interval. T he
outputs of the counter 140 are provided to a series of
frequency jittering current sources 150. ’l`he outputs of the
series of frequency jittering current sources 150 are pre-
sented to the primary oscillator 110 to vary its frequency, as
will be described below.

Prirnary oscillator 110 contains a primary current source
122 which provides a primary current (dcnoted as I) to node
123. Current 125 to the node 123 is provided to the source
of MOSFET transistors 126 and 132. The drain of MOSFET
transistor 126 is connected to the drain of an n-ehannel
MOSFET transistor 128. The source of transistor 128 is
grounded, while the gate of the transistor 128 is connected
to its drain. The gate of the transistor 128 is also connected
to the gate of an n-channel MOSFET transistor 130. The
source of the transistor 130 is grounded while the drain is
connected to the drain of the MOSFET transistor 132 at a
node 131, Transistors 126, 128, 130 and 132 form a ditfer~
ential switch. The output of comparator 136 is connected to
the gate of the transistor 132 and to an inverter 124. 'l`he
output of inverter 124 is connected to the gate of transistor
126. The comparator 136 has an input which is connected to
node 131 and to a capacitor 134. fn combination, the
transistors 126, 128, 130 and 132, capacitor 134, inverter
124, current source 122 and comparator 136 form an oscil-
lator. The output of the comparator 136 is provided as an
oscillator output OSC_OUT 101 and is also used to drive
the clock input of counter 140.

Counter 140 has a plurality of outputs Ql»Q3 (not shown)
which are not used. The remaining outputs Q4-Q7 are
connected to a digital-to-analog (D-to-A) converter 150,
which maybe implemented as a series of frequency jittering
voltage sources or current sources A 04 output 155 is
connected to the gate of a p~channel MOSFE'l` transistor

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154. A Q5 output 157 is connected to the gate of a p-channel
MOSFET transistor 158. The Q6 output 163 is connected to
the gate of a p~channel MOSFET transistor 162, and Q7
output 167 is connected to the gate of a p-channel MOSFET
transistor ,166. When D-to-A converter 150 is viewed as a
plurality of current sources, the source of transistor 154 is
connected to a jittering current source 152, which provides
a current Which is 1/zooth of the current I generated by the
current source 122. The source of MOSFET transistor 158 is
connected to a current source 156 which provides a current
that is 1/n)oth of the current I. The source of the MOSFET
transistor 162 is connected to a jittering current source 160
which provides a current that is l/_<<>th ot` l. Finally, the source
of the MOSFET transistor 166 is connected to a jittering
current source 164 which provides a current that is 1/2sth of
the current l. The current sources 152, 156, 160 and 164 are
binary»weighted, that is, the current source 164 provides
twice the current provided by the current source 160, the
current source 160 provides twice the current supplied by
the current source 156 and the current source 156 provides
twice the current provided by the current source 152.

Further, in one cmbodiment, the largest current source
164 may supply no more than 10% of the current I provided
by the primary current source 122, T he drain of transistors
154, 158, 162 and 166 are joined together such that the
supplemental frequency jittering current sources of the
D-to-A converter 150 can be provided to supplement the
primary current source 122.

During operation, at every eight clock cycles, the counter
output Q4 on line 155 changes state. Similarly, at every 16
clock cycles, the output QS on line 157 changes state and at
every 32 clock cycles, the output Q6 on line 163 changes
state, and every 64 clock cycles, the output Q7 on line 167
changes state. The entire counting cycle thereafter repeats
itself.

Each time the output Q4 on line 155 is low, transistor 154
is turned on to inject current in the amount of 1/200 to node
123 so that the total current 125 is 1.0051. Similarly, each
time that the output 05 on line 157 is low, transistor 158 is
turned on to inject current in the amount ofl/l 00 to node 123
so that the total current 125 is 1,011. Further, each time that
output Q6 on line 163 is low, transistor 162 is turned on to
inject current in the amount of 1/50 to node 123 so that the
total current 125 is 1.021. Finally, each time that the output
Q7 on line 167 is low, the transistor 166 is turned on to inject
current in the amount of 1/25 to node 123 so that the total
current 125 is 1.041.

Additionally, when combinations of outputs Q4-Q7 are
turned on, the outputs of the respective current sources 152,
156, 160 and 164 are added to the output of current source
122 to vary the frequency of the primary oscillator 110. In
this manner, counter 140 drives a plurality of current sources
to inject additional current to the main current source 122
such that the frequency of the primary oscillator 110 is
varied

The jittering operation of the embodiment of FIG, 1 is
further illustrated in a chart in FIG. 2. A normalized oper-
ating frequency is plotted on the y-axis while the counting
cycle as shown by the counter outputs Q4~Q7 is plotted on
the x-axis. As shown in FIG. 2, as the counter counts upward
to the maximum count of 128, the peak switching frequency
is achieved This peak switching frequency is normalizcd to
be about 1075 times the base switching frequency Further,
on average, the switching frequency is between 1.03 and
1.04 times the base switching frequency Thus, the embodi-
ment of P`IG. 1 deviates the switching frequency of the

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oscillator within a narrow range. This deviation reduces EMl
noise by spreading the energy over a wider frequency range
than the bandwidth measured by the EMI test equipment
such that the noise measured by the EMI test equipment is
reduced considerably

FlG. 3 shows an analog frequency jittering circuit. More
details on the analog frequency jittering device are shown in
co-pending U.S. application Ser. No. 09/080,774, entitled
“OFFLINE CONVERTER WITH INTEGRATED SOFT
S'l`AR'l` AND FREQUENCY Jl'l'I`ER,” tiled on May 18,
1998, the content of which is hereby incorporated by refer-
ence, ln FlG` 3, the primary oscillator 110 provides an
oscillator output on line ()SC-()U'l` 101. An analog low
frequency oscillator 405 is also provided Primary oscillator
110 typically operates between a range of 30 to 300 kHZ,
while the low frequency oscillator 405 typically operates
between a range of 5 HZ to 5 kHz. As discussed above, the
switching frequency of the primary oscillator 110 is deter-
mined by the amount of current the primary oscillator uses
to charge and discharge capacitor 134. The low frequency
oscillator 405 varies this current within a narrow range to
jitter the frequency of the primary oscillator 110,

The output of low frequency oscillator 405 is provided to
a M()SFET transistor 505 connected to a resistor 510 and a
current mirror including transistors 495 and 500, Transistor
500 is connected to node 123 so that extra current can be
added to current source 122 feeding the primary oscillator.
In this manner, the frequency of the primary oscillator 110
is shifted around a narrow range to reduce the EMI noise.

FIG. 4 shows a more detailed implementation of FIG. 3.
As shown therein, main oscillator 465 has a current source
470 that is mirrored by current mirror transistors 472 and
475. Main oscillator drive current 615 is provided to current
source input 485 of oscillator 480. The magnitude ol` the
current input into current source input 485 determines the
frequency of the oscillation signal 415 provided by oscillator
480. In order to vary the frequency of the oscillation signal
415, an additional current source 495 is provided within the
main oscillator 465. The current source 495 is mirrored by
current source mirror 500.

The current provided by current source 495 is varied as
followsl Frcquency variation signal 400 is provided to the
gate of main oscillator transistor 505. As the magnitude of
frequency variation signal 400 increases, so does the voltage
at the source of main oscillator transistor 505 due to the
increasing voltage at the gate of the transistor 505 and the
relatively constant voltage drop between the gate and source
of the transistor 505. As the voltage at the source of
transistor 505 increases, so does the current 604 flowing
through the resistor 510. The current iiowing through the
resistor 510 is the same as the current flowing through
additional current source 500 which mirrors transistor 495.

Since the frequency variation signal 400 is a triangular
waveform having a fixed period, as shown, the magnitude of
the current input by additional current source mirror 500 will
vary linearly with the magnitude of the rising and falling
edges of the frequency variation signal 400. If the frequency
variation signal 400 is a ramp signal, the frequency will
linearly rise to a peak and then fall to its lowest value. In this
way, the current 615 provided to current source input 485 of
the oscillator 480 is varied in a known hired range that
allows for an easy and accurate frequency spread of the high
frequency current Further, the variance ol" the frequency is
determined by the magnitude of the current provided by
current source mirror 500, which is a function of the
resistance of the resistor 510.

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Frequeney variation circuit 405 includes a current source
525 that produces a fixed magnitude current 530 that deter-
mines the magnitude of the frequency of the frequency
variation signal 400. Although the current 530 has a fixed
magnitude, the frequency variation signal can be generated
utilizing a variable magnitude current. if such variable
current is generated, the frequency spread is not tixed in time
but varies with the magnitude of current 530. The fixed
magnitude current 530 is fed into first transistor 535, mir-

rored by second transistor 540 and third transistor 545. The _

frequency variation signal 400 is generated by the charging
and discharging of the capacitor 550. Frequency variation
circuit capacitor 550 has a relatively low capacitance, which
allows for integration into a monolithic chip in one embodi-
ment of low frequency oscillator 405. The frequency varia-
tion signal 400 is provided to upper limit comparator 555
and lower limit comparator 560. The output of upper limit
comparator 555 will be high when the magnitude of the
frequency variation signal 400 exceeds the upper threshold
voltage on line 552 which is about 4.5 volts. The output of
lower limit comparator 560 will be low when the magnitude
of frequency variation signal 400 drops below lower thresh-
old voltage on line 557 which is about 1.5 volts. The output
of upper limit comparator 555 is provided to the frequency
variation circuit inverter 565 the output of which is provided
to the reset input of frequency variation circuit latch 570.
The set input of frequency variation circuit latch 570
receives the output of lower limit comparator 560.

ln operation, the output of lower limit comparator 560
will be maintained high for the majority of each cycle of
frequency variation signal 400 because the magnitude of
frequency variation signal will be maintained between the
upper threshold on line 552, 4.5 volts, and lower threshold
on line 557, 1.5 volts, The output of upper limit cornparator
555 will be low until the magnitude of frequency variation
signal 400 exceeds upper level threshold on line 552. 'l'his
means that the reset input will receive a high signal when the
magnitude of the frequency variation signal 400 rises above
the upper threshold signal on line 552.

The charge signal 575 output by frequency variation
circuit latch 570 will be high until the frequency variation
signal 400 exceeds the upper threshold limit signal on line
552. When thc charge signal 575 is high, transistors 585 and
595 are turned off. By turning off transistors 585 and 595,
current can flow into the capacitor 550, which steadily
charges capacitor 550 and increases the magnitude of fre-
quency variation signal 400. The current that Hows into the
capacitor 550 is derived from current source 525 because the
current through transistor 590 is mirrored from transistor
580, which in turn is mirrored from transistor 535.

During power up, when power-up signal 420 is low, the
output of inverter 605 is high, which turns on transistor 600,
causing frequency variation signal 400 to go low. T he
frequency variation signal 400 starts from its lowest level to
perform a soft start function during its first cycle of opera-
tion.

Referring to FIGS. 4 and 5, FIGv 5 shows the operation of
the analog frequency jittering device of FIG. 4. In FIG. 5, a
frequency variation signal 405 is provided to the main
oscillator 465. The magnitude of the current 615 is approxi~
mately the magnitude of the frequency variation signal 405,
less the threshold voltage of transistor 505, and divided by
the resistance of the resistor 510 plus the magnitude of the
current produced by the current source 475. 'l`he current 615
varies with the magnitude of the frequency variation signal
405. The variation of the current 615 in turn varies thc
frequency of the oscillator clocl<.

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Referring now to FIG. 6, a switched mode power supply
is shown. Direct current (DC) input voltage is provided to a
Zener diode 912 which is connected to a diode 914. The
diodes 912-914 together are connected in series across a
primary winding of a transformer 920. A secondary winding
922 is magnetically coupled to the primary winding of
transformer 920. One terminal of the secondary winding 922
is connected to a diode 930, whose output is provided to a
capacitor 932. The junction between diode 930 and capacitor
932 is the positive terminal of the regulated output. 'l`he
other terminal of capacitor 932 is connected to a second
terminal of the secondary winding and is the negative
terminal of the regulated output. A Zener diode 934 is
connected to the positive terminal of the regulated output.
The other end of Zener diode 934 is connected to a first end
of a light emitting diode in an opto~isolator 944. A second
end of the light-emitting diode is connected to the negative
terminal of the regulated output. Aresistor 936 is connected
between the negative terminal of the regulated output and
the first end of the light-emitting diode of opto-isolator 944.
T he collector of the opto-isolator 944 is connected to current
source 172. The output of current source 172 is provided to
the switching regulator logic 800.

Connected to the second primary winding terminal is the
power transistor 208. Power transistor 208 is driven by the
switching regulator logic 800. Switching regulator logic 800
receives a clock signal 101 from an oscillator 111. A counter
140 also receives the clock signal 101 from the primary
oscillator 111. The outputs of counter 140 are provided to
D-to-A converter 150, which is connected to oscillator 111
for jittering the oscillation frequency Alternatively, in lieu
of counter 140 and a D~to-A converter 150, an analog low
frequency jittering oscillator may be used.

The foregoing disclosure and description of the invention
are illustrative and explanatory thereof, and various changes
in the size, shape, materials, components, circuit elements,
wiring connections and eontacts, as well as in the details of
the illustrated circuitry and construction and method of
operation may be made without departing from the spirit of
the invention

Wbat is claimed is:

1. A digital frequency jittering circuit for varying the
switching frequency of a power supply, comprising:

an oscillator for generating a signal having a switching

frequency, the oscillator having a control input for
varying the switching frequency;

a digital to analog converter coupled to the control input

for varying the switching frequency; and

a counter coupled to the output of the oscillator and to the

digital to analog converter, the counter causing the
digital to analog converter to adjust the control input
and to vary the switching frequency

2. The circuit of claim 1, wherein the oscillator further
comprises a primary current source coupled to the oscillator
control input.

3. The circuit of claim 2, further comprising a differential
switch, including:

first and second transistors coupled to the primary current

source;

a third transistor coupled to the first transistor; and

a fourth transistor coupled to the second transistor at a

junction

4. 'l`hc circuit of claim 3, further comprising a capacitor
coupled to the junction.

5. The circuit of claim 3, further comprising one or more
comparators coupled to the junction.

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6. The circuit of claim 2, wherein the digital to analog
converter has one or more secondary current sources.
7. The circuit of claim 6, further comprising a transistor
coupled between each secondary current source and the
counter.
8. The circuit of claim 6, wherein the primary current
source generates a current l and each of the secondary
current sources generates a current lower than l.
9. The circuit of claim 8, wherein the secondary current
sources generate binary weighted currents.
10. The circuit of claim 8, wherein the largest secondary
current source generates a current which is less than about
O.l of l.
11. A method for generating a switching frequency in a
power conversion system, comprising:
generating a primary current;
cycling one or more secondary current sources to generate
a secondary current which varies over time; and

combining the secondary current with the primary current
to be received at a control input of an oscillator for
generating a switching frequency which is varied over
time.
12. T he method of claim 11 further comprising the step of
clocking a counter with the output of the oscillator.
13. The method of claim 11 wherein the primary current
is generated by a current source.
14. The method of claim 11 wherein the primary current
is l and each of the secondary current sources generates a
supplemental current lower than I, and further comprising
passing the supplemental current to the oscillator control
input.
15. The method of claim 14 further comprising binary-
weighting the supplemental current.
16. The method of claim 14 wherein the largest supple-
mental current is less than approximately 0.1 of I.
17. A method for generating a switching frequency in a
power conversion system, cornprising:
generating a primary voltage;
cycling one or more secondary voltage sources to gener-
ate a secondary voltage which varies over time; and

combining the secondary voltage with the primary voltage
to be received ata control input of a voltage-controlled
oscillator for generating a switching frequency which is
varied over time.

18. The method of claim 17 further comprising clocking
a counter with the output of the oscillator.

19. The method of claim 17 wherein the primary voltage
is V and each of the secondary voltage sources generates a
supplemental voltage lower than V, further comprising pass-
ing the supplemental voltage to the voltage-controlled oscil-
lator.

20. The method of claim 19, wherein the supplemental
voltage is binary-weighted

21. A frequency jittering circuit for varying a power
supply switching frequency, comprising:

an oscillator for generating a signal having a switching

frequency, the oscillator having a control input for
varying the switching frequency; and

means coupled to the control input l`or varying the switch»

ing frequency, including:
one or more current sources coupled to the control
input; and

a counter coupled to the output of the oscillator and to the

one or more current sources.

22, The circuit of claim 21 wherein the oscillator further
comprises;

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a primary current source coupled to the control input; and
a differential switch coupled to the primary source.

23. The circuit of claim 22 wherein the oscillator further
comprises;

iirst and second transistors coupled to the primary current
source;

a third transistor coupled to the first transistor; and

a fourth transistor coupled to the second transistor at a
junction.

24. The circuit of claim 22 further comprising a capacitor

and a eomparator coupled to the junction.

25. The circuit of claim 22 wherein the primary current
source generates a current l and each of said one or more
current sources generates a current lower than I.

26. The circuit of claim 22 wherein the primary current
source generates a current l and each of said one or more
current sources generates a second current lower than the
current I, further comprising a transistor coupled to each
current source connected to the counter.

27. The circuit of claim 21 further comprising a transistor
coupled to each current source and to the counter.

28. The circuit of claim 21 wherein the oscillator further
comprises:

a primary voltage source coupled to the control input; and

a differential switch coupled to the primary voltage
source

29. The circuit of claim 21 wherein the means for varying
the frequency further comprises:

a capacitor; and

a current source adapted to charge and discharge the
capacitor

30. The circuit of claim 29 further comprising

one or more comparators coupled to the capacitor; and

means coupled to the capacitor for alternatineg charging
and discharging the capacitor.

31. A power supply having a transformer coupled to an
input voltage, the transformer having a primary winding, the
power supply comprising: l

an oscillator for generating a signal having a frequency,
the oscillator having a control input for varying the
frequency of the signal, the oscillator including:

a primary current source coupled to the control input;

a ditierential switch coupled to the primary current
source;

a capacitor coupled to the differential switch; and

a comparator coupled to the differential switch;

a digital to analog converter Coupled to the control input,
the digital to analog converter having one or more
current sources, wherein the primary current source
generates a current l and each of said one or more
current sources generates a current lower that I;

a counter coupled to the output of the oscillator and to the
current sources of the digital to analog converter; and

a power transistor coupled to the oscillator and to one
terminal of the primary winding, the power transistor modu-
lating its output in providing a regulated power supply
output.

32. A power supply having a transformer coupled to an
input voltage, the transformer having a primary winding, the
power supply comprising:

an oscillator for generating a signal having a frequency,
the oscillator having a control input for varying the
frequency of the signal, the oscillator including:

a primary current source coupled to the control input;

a differential switch coupled to the primary current
source;

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a capacitor coupled to the differential switch; and a power transistor coupled to the oscillator and to one

a comparator coupled to the differential switch terminal of the primary winding, the power transistor
a circuit for varying the frequency, the circuit coupled to modulating its output in providing a regulated power

the control input, including supply output.

a capacitor; 5

a current source adapted to charge and discharge the * a * * *

capacitor;

one or more comparators coupled to the capacitor and
coupled to the current source for alternatingly charg-
ing and discharging the capacitor; and

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UNITED sTATEs PATENT AND TRADEMARK oFFIcE
CERTIFICATE OF CORRECTION

PATENT NG. : 6,249,876 Bl Page 1 of l
DATED : lime 19, 2001
INVENTOR(S) : Balakrishnan et al.

lt is certified that error appears in the above-identified patent and that said Letters Patent is
hereby corrected as shown beiow:

Colurnn 10,

Line 2, please insert -» current -~ after "primary“.

Line 3, please delete "wherein the oscillator further" and insert -- wherein the
differential switch further --.

Signed and Sealed this

Nineteenth Day of February, 2002

Ane.rt:

IAMES E. ROGAN
A!!esring O_)j`icer Direc!or of the United Smres Pmenr and Trademark O_@‘ice

 

 

 

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United States Patent

(10) Patent No.:
(45) Date of Patent:

US 6,229,366 Bl
May 8, 2001

 

 

 

 

('12)
Balakirshnan et al.
(54) OFF-LINE CONVERTER WITH
INTEG RATED S()FTS'I`ART AND
FREQUENCY JITTER
(75) lnventors: Balu Balakirshnan; Alex Djenguerian,
both of Saratoga; I.eif Lund, San Jose,
all of CA (US)
(73) Assignee: Power Integrations, Inc., Sunnyvale,
CA (US)
( * ) Noticc: Subjcct to any diselairner, thc term of this
patent is extended or adjusted under 35
U.S.C. l54(b) by 0 days.
(21) Appl. No.: 09/573,081
(22) Filed: May 16, 2000
Related U.S. Application Data
(62) Division oi` application No, 09/080,774, filed en May 18,
1998, now Pat. No. 6,107,851.
(51) Int. Cl.7 ............................. H03K 3/017
(52) U.S. Cl. .......................... 327,/172; 327/143; 327/531;
327/544
(58) Ficld 01` Sear'ch ..................................... 327/142, 143,
327/`172, 173, 174, §l75, 176, 530, 531,
544
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(57) ABSTRACT

A pulse Width modulated switch comprises a first terminal,
a second terminal, and a switch that allows a signal to be
transmitted between the first terminal and the second tenni~
nal according to a drive signal provided at a control input.
The pulse Width modulated switch also comprises a fre-
quency variation circuit that provides a frequency variation
signal and an oscillator that provides an oscillation signal
having a frequency of that varies within a frequency range
according to the frequency variation signal. The oscillator
further provides a maximum duty cycle signal comprising a
first state and a second state. The pulse width modulated
switch further comprises a drive circuit that provides the
drive signal When the maximum duty cycle signal is in the
iirst state and a magnitude of the oscillation signal is below
a variable threshold level.

18 Claims, 9 Draw»ing Sheets

 

 

 

 

 

 

 

 

 
 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

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OFF-LINE C()NVERTER WITH
INTEGRATED S()FTSTART AND
FREQUENCY JITTER

CROSS-REFERENCE TO RELATED
APPLICATION

This is a Divisional of U.S. application Ser. No. 09/080,
774, filed May 18, 1998, now U,S. Pat. No. 6,107,851,

BACKGROUND

1. Field of the Invention

The field of the present invention pertains to the field of
power supplies and among other things to the regulation of
power supplies

2. Background of the Invention

Power supplies that convert an AC mains voltage to a DC
voltage for use by integrated electronic deviccs, amongst
other devices, are known. The power supplies are required
to maintain the output voltage, current or power within a
regulated range for efficient and safe operation of the elec~
tronic device. Switches that operate according a pulse width
modulated control to maintain the output voltage, current, or
power of the power supply within a regulated range are also
known. These switches utilize an oscillator and related
circuitry to vary the switching frequency of operation of the
switch, and therefore regulated the power, current or voltage
that is supplied by the power supply.

Aproblcm with utilizing pulse width modulated switches
is that they operate at a relatively high frequency compared
to the frequency of the AC mains Voltage, which results in
a high frequency signal being generated by the power
supply Th is high frequency signal is injected back into the
AC mains input and becomes a component of the AC mains
signal 'lhe high frequency signals are also radiated by the
power supply as electromagnetic waves. These high fre-
quency signals add to the Electromagnetic interference
(EMI) of the power supply, and in fact are the largest
contributors to the EMI of the power supply. The EMI
generated by the power supply can cause problems for
communications devices in the vicinity of the power supply
and the high frequency signal which becomes a component
of the AC mains signal will be provided to other devices in
the power grid which also causes noise problems for those
devices Further, the radiated EMI by the power supply can
interfere With radio and television transmissions that are
transmitted over the air by various entities

To combat the problem of EMI, several specifications
have been developed by the Federal Communications Com-
mission (FCC) in the United States and the European
Community (EC) have established specification that specify
the maximum amount of EMI that can be produced by
classes of electronic devices Since power supplies generate
a major component of the EMI for electronic devices, an
important step in designing a power supply is minimizing
the EMI provided by the power supply to levels with the
acceptable limits of the various standards Sincc, a power
supply can be utilized in many different countries of the
world, the EMI produced should be within the most stringent
limits worldwide to allow for maximum utilization of the
power supply,

A known way of minimizing the EMI provided by thc
power supply is by adding an EMI filter to the input of the
power supply, An EMI filter generally utilizes at least one
inductor, capacitor and resistor in combination However,
the greater EMI produced by the power supply the larger the

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components that are utilized as part of the EMI filter. The
cost of the EMI filter is in large part determined by the size
of the inductor and capacitor utilized. The longer the
components, the higher the cost of the power supply,
Further, simply utilizing an EMI filter does not address the
radiated EMI,

Anothcr problem associated with pulse width modulated
switches results from operation of the power supply at start
up, At start up, the voltage, current and power at the output
of the power supply will essentially be zero. 'l` he pulse width
modulated switch will then conduct for the maximum pos-
sible amount of time in each cycle of operation The result
of this is a maximum inrush current into the power supply,
The maximum inrush current is greater than the current that
is utilized during normal operation of the power supply. The
maximum inrush current stresses the components of power
supply and switch, Stress is specifically a problem for the
switch, or transistor, the transformer of the power supply,
and the secondary side components of the power supply, The
stress caused by the maximum inrush current decreases the
overall life of the power supply and increases the cost of the
power supply because the maximum rating of the compo-
nents used in the power supply to not destruct from the
inrush currents will be greater than the maximum rating
required for normal operation

Further, when the pulse width modulated switch conducts
for the maximum possible amount of time in each cycle of
operation the voltage, current and power at the output of the
power supply rise rapidly Since the feedback circuit of the
power supply often does not respond as fast as the operating
frequency of the switch, the rapid rise of the voltage, current
and power will often result in an overshoot of the maximum
voltage in the regulation range which will cause damage to
the device being supplied power by the power supply,

Referring to FlG. 1 a known power supply that attempts
to minimize EMI and reduce startup stress is depicted A
rectifier 10 rectifies the filtered A`C mains voltage 5, from
EMI filter 120, input by the AC mains to generate a rectified
voltage 154 Power supply capacitor 20 then generates a
substantially DC voltage with a ripple component ’l`he
rectified voltage 15 with ripple component is provided to the
primary winding 35 of transformer 40 that is used to provide
power to secondary winding 45. The output of secondary
winding 45 is provided to secondary rectifier 50 and sec-
ondary capacitor 55 that provide a secondary DC voltage 60
at the power supply output 65 to the device that is coupled
to the power supply

In order to maintain the secondary DC voltage within a
regulate range a feedback loop including an optocoupler 70,
Zener diode 75 and a feedback resistor 80 provides a signal
indicative of the voltage at the power supply output 65 to
feedback pin 85 of pulse width modulated switch 90. The
voltage magnitude at the feedback terminal is utilized to
vary the duty cycle cfa switch coupled between the drain
terminal 95 and common terminal 100 of the pulse width
modulated switch 90. By varying the duty cycle of the
switch the average current flowing through the primary
winding and therefore the energy stored by the transformer
40 which in turn controls the power supplied to the power
supply output 65 is kept within the regulated range. A
compensation circuit 105 is coupled to the feedback pin 85
in order to lower the bandwidth of the frequency of opera-
tion of the pulse width modulator.

Inrush currents are minimized at start up by use of soft
start capacitor 110¢ Soft start functionality is termed to be a
functionalin that reduces the inrush currents at start up. At

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this instant a current begins to dow through feedback
resistor 80 and thereby into soft start capacitor '110. As the
voltage of soft start capacitor 110 increases slowly, current
will flow through light emitting diode 115 of optocoupler 70
thereby controlling the duty cycle of the switch. ()nce the
voltage of the soft start capacitor 110 reaches the reverse
breakdown voltage of Zener diode 75 current will flow
through zener diode 75. The approach described above will
reduce the inrush currents into the power supply, however,

it will be several cycles before the light emitting diode 115 '

will begin conducting During the several cycles the maxi»
mum inrush current will still flow through the primary
winding and other secondary side components During these
cycles the transformer may saturate, and therefore the trans-
former may have to be designed utilizing a higher core size
than would be required for normal operation even with the
use of soft start capacitor as in FIG. 1.

To reduce the EMI output by the power supply an EMI
filter 120 is utilized Additionally, pulse width modulated
switch 90 is equipped with frequency oscillation terminals
125 and 130. Frequency oscillation terminal 125 and 130
receive ajitter current 135 that varies according to the ripple
component of substantially DC voltage 25. The jitter current
135 is used to vary the frequency of the saw-toothed
waveforrn generated by the oscillator contained in the pulse
width modulated switch 9(), The saw toothed waveform
generated by the oscillator is compared to the feedback
provided at the feedback pin 85. As the frequency of the saw
toothed waveform varies, so will the switching frequency of
the switch coupled between the drain and common terminal
This allows the switching frequency of the switch to be
spread over a larger bandwidth, which minimizes the peak
value of the EMI generated by the power supply at each
frequency By reducing the EMI the ability to comply with
government standards is increased, because the government
standards specify quasi-peak and average values at given
frequency levels Varying the frequency of operation of the
pulse width modulated switch by varying the oscillation
frequency of the oscillator is referred to as frequency jitter.

A problem associated with the EMI reduction scheme
described with respect to FIG. 1 is that the ripple component
will have variances due to variations in the line voltage and
output load. Additionally, since the ripple may vary, design
and the component value of EMI resistor 140 is dif§cult to
determine and correspondingly design of the power supply
becomes problematic

SUMMARY ()lr` THE lNVENTION

In one embodiment the present invention comprises a
pulse width modulated switch comprising a switch that
allows a signal to be transmitted between a first terminal and
a second terminal according to a drive signal The pulse
width modulated switch also comprises a frequency varia-
tion circuit that provides a frequency variation signal and an
oscillator that provides an oscillation signal having a fre~
quency that varies within a frequency range according to the
frequency variation signal The oscillator further provides a
maximum duty cycle signal comprising a first state and a
second state. The pulse width modulated circuit further
comprises a drive circuit that provides the drive signal when
the maximum duty cycle signal is in the first state and a
magnitude of the oscillation signal is below a variable
threshold level

Another embodiment of the present invention comprises
a pulse width modulated switch comprising a switch com-
prising a control input, the switch allowing a signal to be

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transmitted between a first terminal and a second terminal
according to a drive signal The pulse width modulated
switch also comprises an oscillator that provides a maximum
duty cycle signal comprising an orr-state and an off-state, a
drive circuit that provides the drive signal, and a soft start
circuit that provides a signal instructing said drive circuit to
disable the drive signal during at least a portion of said
on-state of the maximum duty cycle.

In an alternate embodiment the present invention com‘
prises a regulation circuit comprising a switch that allows a
signal to be transmitted between a first terminal and a second
terminal according to a drive signal, a drive circuit that
provides the drive signal and a soft start circuit that provides
a signal instructing the drive circuit to disable the drive
signal

In yet another embodiment the present invention com-
prises a regulation circuit comprising a switch that allows a
signal to be transmitted between a first terminal and a second
terminal according to a drive signal, a frequency variation
circuit that provides a frequency variation signal, and a drive
circuit that provides a drive signal for a maximum time
period of a time duration cycle. The time duration of the
cycle varies according to the frequency variation signal

In the above referenced embodiments the pulse width
modulated switch or regulation circuit may comprise a
monolithic devicc.

An object of an aspect of the present invention is directed
to a pulse width modulated switch that has integrated soft
start capabilities

Another object of an aspect of the present invention is
directed toward a pulse width modulated switch that has
integrated frequency variation capabilities

Yet another object of an aspect of the present invention is
directed toward a pulse width modulated switch that has
integrated frequency variation capabilities and integrated
soft start capabilities

A further object of an aspect of the present invention is
directed toward a low cost regulated power supply that has
both soft start and frequency variation capabilities

This and other objects and aspects of the present inven~
tions are taught, depicted and described in the drawings and
the description of the invention contained herein.

BRIEF DESCRIPTION OF THE DRAWINGS

FIG. 1 is a known power supply utilizing a pulse width
modulated switch, and external soft start, and frequency
jitter functionality

FIG. 2 is a presently preferred power supply utilizing an
pulse width modulated switch according to the present
invention

FIG. 3 is a presently preferred pulse width modulated
switch according to the present invention.

FIG. 4 is a timing diagram of the soft start operation of the
presently preferred pulse Width modulated switch according
to the present invention

FIG. 5 is a timing diagram of the frequency jitter opera~
tion of the presently preferred pulse width modulated switch
according to the present invention

FIG. 6 is an alternate presently preferred pulse width
modulated switch according to the present invention

FIG. 7 is a timing diagram ofthe operation of the alternate
presently preferred pulse width modulated switch of FIG. 6
according to the present invention

FIG. 8 is a presently preferred power supply utilizing a
regulation circuit according to the present invention

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FIG. 9 is a presently preferred regulation circuit according
to the present invention.

DESCRIPTION OF THE PREFERRED
EMBODIMENT

Referring to FIGv 2, EMI filter 200 is coupled to an AC
mains voltage 205. The AC mains voltage 205 is rectified by
rectitier 210. The rectihed voltage 215 is provided to power
supply capacitor 220 which provides a substantially DC
voltage 225. The substantially DC voltage 225 is provided to
the primary winding 230 of transformer 235 which stores the
energy provided to the primary winding 2304 When the
primary winding 230 is no longer receiving energy, energy
is delivered by the transformer 235 to the secondary winding
2401 The voltage induced across the secondary winding 240
is rectified by rectifier 245 and then transformed into sec~
ondary substantially DC voltage 265 by secondary capacitor
260 and provided to the power supply output 267.

Energy is no longer provided to the primary winding 230
when the pulse width modulated switch 262, which is
coupled to the primary winding 230, ceases conduction.
Pulse width modulated switch 262 is a switch that is
controlled by a pulse Width modulated signal. Pulse width
modulated switch 262 conducts and ceases conduction
according to a duty cycle, that is in part determined by
feedback from the power supply output 267. Pulse width
modulated switch 262 is a switch that operates according to
pulse width modulated control. Feedback to the pulse width
modulated switch 262 is accomplished by utilization of
feedback circuit 270, which is presently preferred to com-
prise a Zener diode 275 in series with a resistor 280 and
optocoupler 285. Oplocoupler 285 provides a feedback
current 290 to feedback terminal 295 of pulse width modu-
lated switch 262. The feedback current is utilized to vary the
duty cycle of a switch coupled between the first terminal 300
and second terminal 305 and thus regulate the output
voltage, current or power of the power supply,

Althougli, it is presently preferred that the output voltage
is utilized for fecdbacl<, the present invention is also capable
of utilizing either the current or power at the power supply
output 267 without departing from the spirit and scope of the
present invention

Aportion of the current supplied at the feedback terminal
295 is utilized to supply bias power for operation of the
pulse width modulated switch 262. The remainder of the
current input at the feedback terminal 295 is utilized to
control the duty cycle of the pulse width modulated switch
262, with the duty cycle being inversely proportional to the
feedback current

A bias winding 310 is utilized to bias optocoupler 285 so
that a feedback current can flow when light emitting diode
315 of optocoupler 285 conducts The power supplied by the
bias winding 310 is also used to charge pulse width modu-
lation capacitor 330, the energy from which is utilized to
power the pulse width modulated switch 262.

Overvoltage protection circuit 335 is utilized to prevent
overvoltages from propagating through to the transformer
235.

Pulsc width modulated switch 262 is supplied power
during start up of the power supply by current flowing into
the first terminal 300. An embodiment of one type of
apparatus and method for designing a configuration for
providing power to pulse width modulated switch through
first terminal 300 is disclosed in commonly owned U.S, Pat.
No, 5,014,178 which is incorporated herein by reference in
its entirety

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The drain terminal 300, source terminal 305 and feedback
terminal 295 are the electrical input and/or output points of
the pulse Width modulated switch 262. They need not be part
of a monolithic device or integrated circuit, unless the pulse
width modulated switch 262 is implemented utilizing a
monolithic device or integrated circuit

Pulse width modulated switch 262 also may have soft
start capabilitiesl When the device to which the power
supply is coupled is switched on, a power up signal is
generated within the internal circuitry of pulse width modu-
lated switch 262. The power up signal is used to trigger soft
start circuitry that reduces the duty cycle of the switch that
operates within the pulse width modulated switch 262 for a
predetermined period of time, which is presently preferred to
be ten (10) milliseconds, Once soft start operation is
completed, pulse width modulated switch 262 operates
according to its regular duty cycle.

Alternatively, or in addition to soft start functionality,
pulse width modulated switch 262 may also have frequency
jitter functionality That is, the switching frequency of the
pulse width modulated switch 262 varies according to an
internal frequency variation signal. 'l`his has an advantage
over the frequency jitter operation of FIG, 1 in that the
frequency range of the presently preferred pulse width
modulated switch 262 is known and fixed, and is not subject
to the line voltage or load magnitude variations At low
powers, those less than approximately ten (10) watts, the
common mode choke which is often utilized as part of the
EMl filter 120 can be replaced with inductors or resistors.

As can be seen when comparing the power supply of FIG.
1 to that of P`IG. 2 the number of components utilized is
reduced. This reduces the overall cost of the power supply
as well as reducing its size.

Referring to FIG. 3, frequency variation signal 400 is
utilized by the pulse. width modulated switch 262 to vary its
switching frequency within a frequency range. The fre-
quency variation signal 400 is provided by frequency varia-
tion circuit 405, which preferably comprises an oscillator
that operates at a lower frequency than main oscillator 465.
The frequency variation signal 400, is presently preferred to
be a triangular Waveform that preferrably oscillates between
four point five (4.5) volts and one point five (1.5) volts,
Although the presently preferred frequency variation signal
400 is a triangular waveform, alternate frequency variation
signals such as ramp signals, counter output signals or other
signals that vary iii magnitude during a fixed period of time
may be utilized as the frequency variation signal

The frequency variation signal 400 is provided to soft
start circuit 410 During operation soft start circuit 410 is
also provided with pulse width modulation frequency signal
415 and power up signal 420, Soft start enable signal 421
goes high at power up and remains high until oscillator
signal 400 reaches its peak value for the first time. Soft start
circuit 410 will provide a signal to or-gate 425 to reset latch
430 thereby deactivating conduction by the switch 435,
which is presently preferred to be a MOSFET. Soft start
circuit 410 will instruct switch 435 to cease conduction
when the soft start enable signal 421 is provided and the
magnitude of the frequency variation signal 400 is less than
the magnitude of pulse width modulation signal 415` ln
other words, start up circuit 410 will allow the switch 435 to
conduct as long as soft start enable signal is high and the
magnitude of the pulse width niodulation signal 415 is
below the magnitude of frequency variation signal 400 as
depicted in Pth 4. ln this way, the inrush current at startup
will be limited for all cycles of operation, including the first

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cycle. By limiting the inrush current during all cycles of
startup operation, the maximum current through each of the
components of the power supply is reduced and the maxi~
murn current rating of each component can be deereased.
The reduction in the ratings of the components reduces the
cost of the power supply. Soft start signal 440 will no longer
be provided by the frequency variation circuit 405 when the
frequency variation signal 400 reaches its peak magnitude

Operation of soft start circuit 410 will now be explained

Soft start circuit 410 comprises a soft start latch 450 that at -

its set input receives the power up signal 420 and its reset
input receives the soft start signal 440. Soft start enable
signal 421 is provided to one input of soft start and-gate 455
while the other input of soft start and-gate 455 is provided
with an output from soft start comparator 460. The output ot'
soft start comparator 460 Will be high when the magnitude
of frequency variation signal 400 is less than the magnitude
of pulse width modulation oscillation signal 415.

The pulse width modulated switch 262 depicted in FIG. 3
also has frequency jitter functionality to help reduce the EMI
generated by the power supply and pulse width modulated
switch 262, Operation of the frequency jitter functionality
will now be explained Main oscillator 465 has a current
source 470 that is mirrored by mirror current source 475.
Main oscillator drive current 615 is provided to the current
source input 485 of PWM oscillator 480. The magnitude of
the current input into current source input 485 of PWM
oscillator 480 determines the frequency of the pulse width
modulation oscillation signal 415 which is provided by
PWM oscillator 480. In order to vary the frequency of pulse
width modulation oscillation signal 415, an additional cur-
rent source 495 is provided within main oscillator 465. The
additional current source 495 is mirrored by additional
current source mirror 500. The current provided by addi-
tional current source 495 is varied as follows, Frequency
variation signal 400 is provided to the gate of main oscillator
transistor 505. As the magnitude of frequency variation
signal 400 increases so does the voltage at the source of
main oscillator transistor 505, due to the increasing voltage
at the gate of main oscillation transistor and the relatively
constant voltage drop between the gate and source of the
main oscillation transistor 505. As the voltage at the source
of main oscillation transistor 505 increases so does the
current flowing through the main oscillation resistor 510.
The current flowing through main oscillation resistor 510 is
the same as the current flowing through additional current
source 495 which is mirrored by additional current source
mirror 500, Since, the presently preferred frequency varia~
tion signal 400 is a triangular waveforrn having a fixed
period, the magnitude of the current input by additional
current source mirror 500 will vary linearly with the mag-
nitude of the rising and falling edges of the frequency
variation signal 400. If the frequency variation signal 400 is
a ramp signal, the frequency would linearly rise to a peak
and then immediately fall to is lowest value. ln this way, the
current provided to current source input 485 of PWM
oscillator 480 is varied in a known fixed range that allows
for easy and accurate frequency spread of the high frequency
current generated by the pulse width modulated switch.
Further, the variance of the frequency is determined by the
magnitude of the current provided by additional current
source mirror 500, which is in turn a function of the
resistance of main oscillation resistor 510.

l'*`requ.ency variation circuit 405 includes a current source
525 that produces a fixed a magnitude current 530 that
determines the magnitude of the frequency of the frequency
variation signal 400. Although, the presently preferred cur-

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rent 530 has a fixed magnitude, the frequency variation
signal can be generated utilizing a variable magnitude
current, if a variable current is generated the frequency
spread would not be fixed in time but would vary with the
magnitude of current 530. The fixed magnitude current 530
is fed into first transistor 535, mirrored by second transistor
540 and fed into third transistor 545. The frequency varia~
tion signal 400 is generated by the charging and discharging
of frequency variation circuit capacitor 550, Frequency
variation circuit capacitor 550 is presently preferred to have
a relatively low capacitance, which allows for integration
into a monolithic chip in one embodiment of the pulse width
modulated switch 262. The frequency variation signal 400 is
provided to upper limit comparator 555 and lower limit
comparator 560. The output of upper limit comparator 555
will be high when the magnitude of the frequency variation
signal 400 exceeds the upper threshold voltage 552 which is
presently preferred to be four point live (4.5) volts, The
output of lower limit comparator 560 will be high when the
magnitude of frequency variation signal 400 exceeds lower
threshold voltage 557 which is presently preferred to be one
point five volts (1.5) volts. The output of upper limit
comparator 555 is provided to the frequency variation circuit
inverter 565 the output of which is provided to the reset
input of frequency variation circuit latch 570. 'l`he set input
of frequency variation circuit latch 570 receives the output
of lower limit comparator 560. In operation, the output of
lower limit comparator 560 will be maintained high for the
majority of each cycle of frequency variation signal 400
because the magnitude of frequency variation signal will be
maintained between upper threshold 552, 445 volts, and the
lower threshold 557, 1.5 volts. The output of upper limit
eomparator 555 will be low until the magnitude of frequency
variation signal 400 exceeds upper level threshold 552. 'l"his
means that the reset input will receive a high signal until the
magnitude of the frequency variation signal 400 rises above
the upper threshold signal 552.

'l`he charge signal 575 output by frequency variation
circuit latch 570 will be high until the frequency variation
signal 400 exceeds the upper threshold limit signal 552.
When the charge signal 575 is high, transistors 585 and 595
are turned off. By turning off transistors 585 and 595 current
can flow into frequency variation circuit capacitor 550,
which steadin charges frequency variation circuit capacitor
550 and increases the magnitude of frequency variation
signal 40(). The current that flows into frequency variation
circuit capacitor 550 is derived from current source 525
because the current through transistor 590 is mirrored from
transistor 580, which is mirrored from transistor 535,

During power up, when power-up signal 420 is low, the
output of inverter 605 is high which turns on transistor 600
causing frequency variation signal 400 to go low, The
frequency variation signal 400 is presently preferred to start
from its lowest level to perform the soft start function during
its first cycle of operation,

Steady-state operation of the pulse width modulated
switch 262, i.e. non start up operation, will now be
described PWM oscillator 480 provides pulse width modu-
lation oscillation signal 415 to pulse width modulation
comparator 609, the output of which will be high when the
magnitude of pulse width modulation signal 415 is greater
than the magnitude of a feedback signal 296 which is a
function of the input provided at feedback terminal 295.
When the output of pulse width modulation comparator 609
is high or-gate 425 is triggered to go high, which in turn
resets pulse width modulation latch 430, removing the on
signal from the control input switch 435, thereby turning otf

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switch 435. Pulse width modulation latch 430 is set by clock
signal 603, which is provided at the beginning of each cycle
of pulse width modulation oscillator 480. Drive circuit 615,
which is presently preferred to be an and-gate, receives the
output of pulse width niodulation latch 430, power up signal
420, and maximum duty cycle signal 607 . As long as each
one of the signals is high, drive signal 610 is provided to the
gate of MOSFET 435, which is coupled between first
terminal 300 and second terminal 305 of the pulse width

modulated switch 262, When any of the output of pulse _

width modulation latch 430, power up signal 420, or maxi-
mum duty cycle signal 607 goes low drive signal 610 is no
longer provided and switch 435 ceases conduction.

Referring to FIG. 4, frequency Variation signal 400 pref-
erably has a period, which is greater than that of pulse width
modulated oscillation signal 415. The presently preferred
period for frequency variation signal 400 is twenty (20)
milliseconds, in order to allow for a smooth start up period
which is suhiciently longer than the period ot` pulse width
modulated signal 415 which is presently preferred to be ten
(10) microseconds. Drive signal 610 will be provided only
when thc magnitude of pulse width modulated signal 415 is
less than the magnitude of frequency variation signal 400.
Furthcr, frequency variation signal 400 will be preferably
initiated starting from low voltage when power up signal
420 is provided

Referring to FIG. 5, frequency variation signal 400 which
is presently preferred to have a constant period is provided
to the main oscillator 465. The magnitude of the pulse width
modulator current 615 will approximately be the magnitude
of frequency variation signal 400 divided by the resistance
of resistor 510 plus the magnitude of the current produced by
current source 470. in this way the pulse width modulator
current 615 will vary with the magnitude of the frequency
variation signal 400. 'l`he result is that the frequency of pulse
width modulatiou signal is varied according to the magni~
tudc of this current. lt is presently preferred that the pulse
width modulator current source produces a constant current
having a magnitude of twelve point one (12.1)
microamperes, and that frequency variation signal induced
current 627 varies between zero (0) and eight hundred (800)
nanoarnperes. Thereby spreading the frequency of operation
of the pulse width modulation oscillator 480 and reducing
the average magnitude and the quasi-peak magnitude at all
frequency levels of the EMI generated by the power supply

Referring to FlG. 6, an alternate presently preferred pulse
width modulated switch 262 includes all of the same com~
ponents as described with respect to FIG. 3. ln addition to
these components, a second frequency variation circuit
current source 660 and transistor 655 are added to the
frequency variation circuit 405. Transistor 655 is activated
only when the output of soft start latch 450 goes low, When
transistor 655 is activated the current provided to the fre-
quency variation circuit 405 increases as does the frequency
of frequency variation signal 400. However, transistor 655
will only be turned on when the output of soft start latch 450
goes low, i.e. when the magnitude of frequency variation
signal 400 first reaches the upper threshold after power up.
The period of frequency variation signal 400 will then
increase after its first half cycle. This will decreases the
period of the cycle during which the frequency is spread,
without decreasing the frequency range. The benefit of the
decreased cycle period will further decrease the quasi-peak
levels of the EMI due to spending less time at each fre-
quency level.

Refcrring to FIG. 7, operation of the frequency variation
circuit 405 of FIG. 6 is depicted Frequency variation signal

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405 will preferably have a period of ten (10) milliseconds for
its first half cycle. After that, when the transistor 655 is
turned on the period is preferably decreased to five (5)
milliseconds. Pulse width modulated switch 262 is presently
preferred to be a monolithic device

Referring to PIG. 8, a power supply comprises a bridge
rectifier 710 that rectifies an input AC mains voltage Power
supply capacitors 720 charge with the rectified AC mains
voltage to maintain an input DC voltage 725. A presently
preferred range for input DC voltage 725 is approximately
one hundred (100) to four hundred (400) volts to allow for
operation based upon worldwide AC mains voltages which
range between eighty five (85) and two hundred sixty five
(265) volts, The presently preferred power supply also
includes harmonic filter components 910 which in combi~
nation with capacitors 720 reduce the harmonic current
injected back into the power grid Transforrner 730 includes
a primary winding 740 magnetically coupled to secondary
winding 750. The secondary winding 750 is coupled to a
diode 760 that is designed to prevent current tiow in the
secondary Winding 750 when the regulation circuit 850 is
conducting (on-state). A capacitor 770 is coupled to the
diode 760 in order to maintain a continuous voltage on a
load 780 which has a feedback circuit coupled to it. A
presently preferred feedback circuit comprises an optocou~
pier 800 and Zener diode 820. 'l`hc output of optocoupler 800
is coupled to the feedback terminal 825 of regulation circuit
850. The presently preferred regulation circuit 850 switches
on and otl" ata duty cycle that is constant at a given input DC
voltage 740. /\ regulation circuit power supply bypass
capacitor 860 is coupled to and supplies power to regulation
circuit 850 when the regulation circuit 850 is in the ori-state.

Opcration of the power supply will now be described An
AC mains voltage is input through EMl filter 700 into bridge
rectifier 710 which provides a rectified signal to power
supply capacitors 720 that provide input DC voltage 725 to
primary winding 740. Regiilation circuit 850, which prefer-
ably operates at a constant frequency and about constant
duty cycle at a given input DC voltage 725, allows current
to flow through primary winding 740 during its on state of
each switching cycle and acts as open circuit in its off state.
When current flows through primary winding 740 trans-
former 730 is storing energy, when no current is iiowing
through primary winding 740 any energy stored in trans-
former 730 is delivered to secondary winding 750. Second-
ary winding 750 then provides the energy to capacitor 770.
Capacitor 770 delivers power to the load 780. The voltage
across the load 780 will vary depending on the amount of
energy stored in the transformer 730 in each switching cycle
which is in turn dependent on the length of time current is
flowing through primary winding 740 in each switching
cycle which is presently preferred to be constant at a given
input DC voltage 725. The presently preferred regulation
circuit 850 allows the voltage delivered to the load to be
maintained at a constant level.

lt is presently preferred that the sum of the voltage drop
across optocoupler 800 and the reverse break down voltage
of zener diode 820 is approximately equal to the desired
threshold level. When the voltage across the load 780
reaches the threshold level, current begins to flow through
the optocoupler 800 and Zener diode 820 that in turn is used
to disable the regulation circuit 850. Whenever regulation
circuit 850 is in the off-state the regulation circuit power
supply bypass capacitor 860 is charged to the operating
supply voltage, which is presently preferred to be five point
seven (5.7) volts by allowing a small current to liow from
bypass terminal 865 to the regulation circuit power supply

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bypass capacitor 860, Regulation circuit power supply
bypass capacitor 860 is used to supply power to operate
regulation circuit 850 when it is in the on-state.

When the regulation circuit 850 is disabled, an open
circuit condition is created in primary winding 740 and
transformer 730 does not store energy. The energy stored in
the transformer 730 from the last cycle of regulation circuit
850 is then delivered to secondary winding 750 which in
turn supplies power to the load 780, Once the remaining

energy in transformer 750 is delivered to the load 780 the .
voltage of the load 780 will decrease. When the voltage at 4

the load 780 decreases below the threshold level, current
ceases to flow through optocoupler 800 and regulation
circuit 850 resumes operation either instantaneously or
nearly instantaneously

The presently preferred regulation circuit 850 has a cur-
rent limit feature. The current limit turns off the regulation
circuit 850, when the current flowing through the regulation
circuit 850 rises above a current threshold level. ln this way
regulation circuit 850 can react quickly to changes such as
AC ripple that occur in the rectified AC mains voltage, and
prevents the propagation of the voltage changes to the load.
The current limit increases thc responsiveness of the regu~
lation circuit to input voltage changes and delivers constant
power output independent for the AC mains input voltage.

Although the presently preferred power supply of FIG. 8
utilizes current mode regulation and a feedback circuit that
includes an optocoupler and Zener diode, the present invcn~
tion is not to be construed as to be limited to such a feedback
method or circuit Either current or voltage mode regulation
may be utilized by the present invention without departing
from the spirit and scope of the present invention so long as
a signal indicative of the power supplied to the load is
supplied to the feedback terminal 825 of the regulation
circuit 850. Additionally, although the presently preferred
power supplies both utilize an optocoupler and zener diode
as part of feedback circuits other feedback circuits may be
utilized by the present invention without departing from the
spirit and scope of the present invention

Regulation circuit 850 also may have integrated soft start
capabilities When the device to which the power supply is
coupled is switched on, a power up signal is generated
within the internal circuitry of regulation circuit 850. A
power up signal is used to trigger soft start circuitry that
reduces the duty cycle of the switch that operates within the
pulse width modulated switch 262 for a predetermined
period of tiine, which is presently preferred to be ten (10)
milliseconds. Once soft start operation is completed, regu-
lation circuit 850 operates according to its regular duty
cycle.

Alternatively, or in addition to soft start functionality,
regulation circuit 850 may also have frequency jitter func~
tionality. That is, the switching frequency of the regulation
circuit 850 varies according to an internal frequency varia-
tion signal This has an advantage over the frequency jitter
operation of FIG. 1 in that the frequency range of the
presently regulation circuit 850 is known and tixed, and is
not subject to the line voltage or load magnitude variations

Referring to FIG, 9, frequency variation circuit 405 and
main oscillator 465 function as described with respect to
PlG. 3. ln operation it is the variance of the high and low
states of maximum duty cycle signal 607 that generates the
frequency jitter functionality of the regulation circuit 850. A
presently preferred regulation circuit 850 and its steady-state
operation is depicted and described in copending patent
application Ser. No. 09/032,520 which is hereby incorpo-
rated by reference in its entiretyl

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The regulation circuit of FIG. 9 can be moditied to include
a second current source to further increase the period of
main oscillation signal 415 which achieves the same result
and function as described with respect of FIGS. 6 and 7.

The soft start functionality of the presently preferred
regulation circuit 850 of FIG. 9, will shorten the on~tirne of
switch 435 to less than the time of the maximum duty cycle
signal 607 as long as the soft start enable signal 421 is
provided and the magnitude of frequency variation signal
400 is less than the magnitude of main oscillation signal 415.

The presently preferred regulation circuit 850 preferably
comprises a monolithic device.

While the embodiments, applications and advantages of
the present invention have been depicted and described,
there are many more embodiments, applications and advan~
tages possible without deviating from the spirit of the
inventive concepts described herein Thus, the inventions
are not to be restricted to the preferred embodinients,
specification or drawings The protection to be ail`orded this
patent should therefore only be restricted in accordance with
the spirit and intended scope of the following claims

What is claimed is:

'1. A pulse width modulated switch comprising

a first terminal;

a second terminal;

a switch comprising a control input, the switch allowing

a signal to be transmitted between said first terminal
and said second terminal according to a drive signal
provided at said control input;

an oscillator that provides a maximum duty cycle signal

comprising an orr-state and an off~state;

a drive circuit that provides said drive signal according to

said maximum duty cycle signal; and

a soft start circuit that provides a signal instructing said

drive circuit to disable said drive signal during at least
a portion of said on-state of said maximum duty cycle.

2. 'I`he pulse width modulated switch of claim 1 wherein
said a first tertninal, said second terminal, said switch, said
oscillator, said drive circuit and said soft start circuit com-
prise a monolithic device.

3. The pulse width modulated switch of claim l further
comprising an additional oscillator that provides a soft start
signal to said soft start circuit, and wherein when said soft
start signal is removed said soft start circuit ceasing opera~
tion.

4. The pulse width modulated circuit of claim 3 wherein
said additional oscillator further comprises

a eomparator that provides a comparator signal when a
magnitude of a reference signal is greater than or equal
to a magnitude of said frequency variation oscillation
signal, and

an inverter that receives said comparator signal and
provides said soft start signal.

5. The pulse width modulated switch of claim l further
comprising a frequency variation circuit that provides a
frequency variation signal, wherein said oscillator provides
an oscillation signal and wherein said soft start circuit
provides said signal instructing said drive circuit to disable
said drive signal when a magnitude of said oscillation signal
is greater than a magnitude of said frequency variation
signall

6. 'l`he pulse width modulated switch of claim 5 wherein
said oscillator comprises an input that receives said fre-
quency signal and said oscillation signal comprises a frc-
quency range, and wherein said frequency of said oscillation

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signal varies within said frequency range according to a
magnitude of said frequency variation signal

7. The pulse width modulated switch of claim 6 wherein
said oscillator further comprises a current source, wherein
said frequency of said oscillatioii signal is a function of a
sum of a magnitude of a current provided by said current
source and said magnitude of said frequency variation
signal

8. The pulse width modulated switch of claim 1 further
comprising

a rectifier comprising a rectifier input and a rectifier

output, said rectifier input receiving an AC mains signal
and said rectifier output providing a rectifier signal;

a power supply capacitor that receives said rectified

signal;

a first winding comprising a first terminal and a second

terminal, said first winding receiving a substantially
DC signal from said power supply capacitor, said
second terminal of said first winding coupled to said
first terminal of said pulse width modulated switch; and
a second winding magnetically coupled to said first
winding, said first winding capable of being coupled to
a load

9. A regulation circuit comprising

a first terminal;

a second terminal;

a switch comprising a control input, said switch allowing

a signal to be transmitted between said first terminal
and said second terminal according to a drive signal
provided at said control input;

a drive circuit that provides said drive signal for a

maximum time period of a cycle; and

a soft start circuit that provides a signal instructing said

drive circuit to disable said drive signal during at least
a portion of said maximum time pcriod.

10. 'l`he regulation circuit of claim 9 further comprising an
oscillator that provides a maximum duty cycle signal to said
drive circuit, said maximum duty cycle signal comprising an
orr-state for said maximum time period

11. The regulation circuit of claim 10 further comprising
a frequency variation circuit that provides a frequency
variation signal, wherein said oscillator provides an oscil-
lation signal and wherein said soft start circuit provides said
signal instructing said drive circuit to disable said drive

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signal when a magnitude of said oscillation signal is greater

than a magnitude of said frequency variation signal
12. The regulation circuit of claim 9 further comprising an
additional oscillator that provides a soft start signal to said
soft start circuit, and wherein when said soft start signal is
removed said soft start circuit ceasing operation,
13. 'l'he regulation circuit of claim 12 wherein said
additional oscillator further comprises
a comparator that provides a comparator signal when a
magnitude of a reference signal is greater than or equal
to a magnitude of said additional oscillation signal, and

an inverter that receives said comparator signal and
provides said soft start signal.

14a The regulation circuit of claim 9 further comprising a
frequency variation circuit that provides a frequency varia-
tion signal and wherein said maximum time period varies
according to a magnitude of said frequency variation signal.

15. The regulation circuit of claim 9 further comprising a
feedback terminal and wherein when a signal is received at
said feedback terminal said drive signal is discontinued for
at least one cycle.

16. The regulation circuit of claim 9 wherein said first
terminal, said second terminal, said oscillator and said soft
start circuit comprise a monolitliic device.

17. The regulation circuit of claim 16 further comprising
a current limit circuit that provides a signal instructing said
drive circuit to discontinue said drive signal when a current
received at said first terminal of said regulation circuit is
above a threshold level.

18. The regulation circuit of claim 9 further comprising

a rectifier comprising a rectifier input and a rectifier
output, said rectifier input receiving an AC niains signal
and said rectifier output providing a rectifier signal;
power supply capacitor that receives said rectified
signal;

a first winding comprising a first terminal and a second
terminal, said first winding receiving a substantially
DC signal from said power supply eapacitor, said
second terminal of said first winding coupled to said
first terminal of said regulation circuit; and

a second winding magnetieally coupled to said first
winding, said first winding capable of being coupled to
a load.

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United States Patent nn
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1111 Patent Number:
[45] Date of Patent:

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[54] HIGH VOLTAGE MOS TRANSISTORS
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View, Calif.
[21] Appl. No.; 41,994
[22] Filed: Apr. 24, 1987
[51] !nt. Cl.'* ..................... H01L 27/02; HOlL 29/78;
HOlL 29/80
152] U.S. Cl. ........................................ 357/46; 357/22;
357/23.4; 357/23,8
[58] Field or search ....................... 357/23.8, 23.4, 46,
357/22
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t$?l ABSTRAcr`

An insulated-gate field-effect transistor and a double~
sided, junction-gate field-effect transistor are connected
in series on the same chip to form a high~voltage MOS
transistor. An extended drain region is formed on top of
a substrate of opposite conductivity-type material. A
top layer of material having a conductivity~type oppo-
site that of the extended drain and similar to that of the
substrate is provided by ion-implantation through the
same mask window as the extended drain region. This
top layer covers only an intermediate portion of the
extended drain which has ends contacting a silicon
dioxide layer thereabove. The top layer is either con~
nected to the substrate or left floating Current flow
through the extended drain region can be controlled by
the substrate and the top layer, which act as gates pro~
viding field-effects for pinching off the extended drain
region therebetween A complementary pair of such
high-voltage MOS transistors having opposite conduc-
tivity-type are provided on the same chip.

7 Claims, 2 Drawing Sheets

 

 

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HIGH VOLTAGE MOS TRANSISTORS

BACKGROUND OF THE INVENTION

l. Field of the Invention

This invention relates generally to high voltage met-
al-oxide semiconductor (MOS) transistors of the field~
effect type. More specifically, the transistors can be
made as either discrete or integrated devices of either
n-charmel or p~channel conductivity. The integrated
devices can easily be combined with low voltage con.
trol logic on the same chip. Further devices of` opposite
conductivity can be combined in a complementary man-
ner on the same chip.

2. Description of the Prior Art

Self' isolation technology is used for making high
voltage MOS devices, particularly integrated high volt-
age devices in combination with low voltage control
logic on the same chip. The voltage is sustained by an
offset gate, as a lightly doped extended drain region is
used. Such devices can be considered as an IGFET or
MOSFET in series with a single sided JFET. Two of
such high voltage devices having opposite conductivity
types can be used as a complementary pair on the same
chip, with the device having an extended p-type drain
being imbedded in an n-well in a p-substrate.

The voltage capability of such high voltage devices is
determined by the doping of the substrate, the length of
the extended drain region and the net number of
charges therein. For optimum performance, the net
number of charges should be around 1>< 1012/cm2. Such
devices have been used for making display drivers in the
one hundred to two hundred volt range, but the current
capabilities of the devices are poor. The main advantage
is that low voltage control logic easily can be combined
_on the same chip. For these devices_, a general figure of
merit can be determined by the product of` Ro,,xA
(where Ro,, is the orr-resistance in the linear region and
A is the area taken up by the device). For an n-channel
device in the voltage range of two hundred fifty to
three hundred volts, Ra,,xA is typically 10-15 ll mmz. A
discrete vertical D-MOS device in the same voltage
range has a figure of` merit of 3 0 mmz, but is much
more difficult to combine with low voltage control
logic on the same chip. Thus, the application of these
high voltage devices is restricted to current level below
100 mA, such as display drivers. Even such drivers are
more costly due to poor area efficiency of the high
voltage devices

SUMMARY OF THE PRESENT INVENTION

An object of the present invention is to provide a
more efficient high voltage MOS transistor.

Another object of the invention is to provide a high
voltage MOS transistor that is compatible with five volt
logic.

A further object of the invention is to provide a three
hundred volt n-channel device with a figure oi` merit,
Ro,, x A, of about 2.0 ll mmz,

Briefly, the present invention includes an insulated
gate, field-effect transistor (IGFET or MOSFET) and a
double-sided junction gate field-effect transistor (JFET)
connected in series on the same chip to form a high

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voltage MOS transistor. In a preferred embodiment of 65

the »inveution, a complementary pair of such high volt-
age MOS transistors having opposite conductivity_ type
are provided on the same chip.

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Advantages of the invention include more efficient
high voltage MOS transistors, compatibility with five
volt logic, and for an n-channel device, voltage capabil~
ity of three hundred volts with a figure of merit, R,,n x
A, of about 2.0 0 mmz.

'I`hese and other objects and advantages of the pres~
ent invention will no doubt become obvious to those of
ordinary skill in the art after having read the following
detailed description of the preferred embodiments
which are illustrated in the various drawing figures

l IN THE DRAWINGS

FIG. 1 is a diagrammatic view of a high voltage MOS
transistor of the n-channel type embodying the present
invention.

FIG. 2 is a diagrammatic view of a high voltage MOS
transistor of the p-channel type embodying the present
invention

FIG. 3 is a diagramrnatic view of the transistors
shown in FIGS. 1 and 2 forming a complementary pair
on the same chlp.

FIG. 4 is a diagrammatic view of low voltage,
C-MOS implemented devices that can be combined on
the same chip with the complementary pair of high
voltage MOS transistors shown in FIG, 3. v

FIG. 5 is a diagrammatic view of a symmetric high-
voltage n~channel device wherein the source region and
the drain region are similar.

DESCRIPTION OF THE PREFERRED
EMBODIMENT

Looking now at FIG. 1, an n-channel type, high
voltage MOS transistor, indicated generally by refer~
ence numeral 10, is formed on a p-substrate 11 covered
by a silicon dioxide layer 12. A metal source contact 14
and a metal drain contact 16 extend through the silicon
dioxide layer to the substrate A polysilicon gate 17 is
positioned between the source contact and the drain
contact at a location where the silicon dioxide layer is
very thin so that the gate is slightly ofi`set and insulated
from the substrate. The polysilicon gate is the gate
electrode, and an insulation layer 18 covers the gate and
the silicon dioxide layer.

Beneath the source contact 14, a pocket 19 of p+
material and a pocket 21 of n+-material are diffused into
the p“ substrate 11. The pocket 21 extends from be~
heath the source contact to the gate 17. Beneath the
gate is a threshold voltage implant 22 of p-type material
for adjusting the threshold voltage and a punch through
implant 23 of p-type material for avoiding punch
through voltage breakdown Beneath the drain contact
16, a pocket 24 of n+ material is diffused into the sub_
strate. An extended drain region 26 of n-material is
formed by diffusion or ion implantation on top of the
p-substrate, and extends from beneath gate 17 to the
pocket 24 and a similar distance to the opposite side of
the pocket. A top layer 27 of p- material is provided by
ion-implantation through the same mask window as the
extended drain_region to cover an intermediate portion
thereof, while the end portions of the drain region are
uncovered to contact the silicon dioxide layer 12. The
top layer is either connected to the substrate or left
floating

The gate 17 controls by field-effect the current flow
thereunder laterally through the p-type material to the
n-type material in the extended drain region 26. Further
flow through the extended drain region can be con~
trolled by the substrate 11 and the top layer 27, which

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act as gates providing field-effects for pinching off the
extended drain region therebetween Thus, the transis-
tor 10 can be considered as an insulated gate, field-effect
transistor (IGFET or MOSFET) connected in series
with a double- sided, junction~gate fleld- effect transistor
(JFET). While the insulated gate, field-effect transistor
shown is a conventional MGS type, it should be under-
stood that it could also be a lateral D-MOS or a deple-
tion MOS type.

By adding the top layer 27 over the extended drain
region 26 and connecting this top layer to the substrate
11, the net number of charges in the extended drain
region can be increased from l>< 1032/cm2 to around
2><l012/cm2, or approximately double. This drastically
reduces the on-resistance of the transistor 10. The pinch
off voltage of the extended drain region can be reduced
from typically around forty volts to below ten volts,
Thus, a conventional short channel, thin gate oxide
MOS transistors can be used as the series transistor
instead of a D~MOS device. This results in the follow-
ing benefits. First, the threshold voltage of a conven-
tional MOS transistor is typically much lower than for
a D-MOS device (0.7 volts compared to two four volts
for the D~MOS device) and thus, is directly compatible
with five volt logic. The D-MOS device usually re-
quires an additional power supply of ten to fifteen volts
for driving the gate. Second, the conventional MOS
transistor has less on resistance and thus, further re-
duces the total on resistance

As the p-type top layer 27 can be made very shallow
with a depth of one micron or less, the doping density in
that layer will be in the range of 5><1016-le017/cm3.
At doping levels above 1016/cm3, the mobility starts to
degrade and a decrease in mobility will increase the
critical electrical field for breakdown, thus giving a
higher breakdown voltage for fixed geometry. The
number of charges in the top layer is around
l>< 1012/cm2 and to first order approximation indepen-
dent of depth.

The combined benefits of the above features result in
a voltage capability of three hundred volts with a figure
of merit, Ro,, x A, of about 2.0 il mm2 for the transistor
10. Currently used integrated MOS transistors have a
figure of merit of about 10-15 ii mmz, while the best
discrete vertical D-MOS devices on the market in a
similar voltage range have a figure of merit of 3-4 ll
mm .

With reference to FIG. 2, a p-channel type, high
voltage MOS transistor is indicated generally by refer-
ence numeral 30. Since the layers of substrate, silicon
dioxide, and insulation for this transistor are similar to
those previously described for transistor 10, they will be
given like reference numerals. A p-substrate 11 is cov~
ered by a silicon dioxide layer 12 and an insulation layer
18. A metal source contact 31 and a metal drain contact
32 extend through the insulation layer and the silicon
dioxide layer to an n-well 33 that is embedded in the
substrate. A polysilicon gate 34, which is an electrode,
is positioned between the source contact and the drain
contact at a location where the silicon dioxide layer is
very thin so that the gate is slightly offset and insulated
from the n-well The gate and the silicon dioxide layer
are covered by the insulation layer 18.

A pocket 35 of n+ type material and a pocket 36 of
p+ type material are provided in the n-well 33 beneath
the metal source contact 31. The pocket 36 extends to
the gate 34. An extended drain region 37 of p»type
material is formed in the n~well and extends from be~

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neath the gate to a pocket 38 located beneath the drain
contact 32, and the extended drain region continues a
similar distance on the opposite side of the drain
contact. A top layer 39 of n-material is provided by
ion-implantation through the same window of the mask
as the extended drain region to cover an intermediate
portion thereof. The end portions cf the extended drain
region are uncovered so as to contact the silicon dioxide
layer 12. The top layer is either connected to the n-well
or left floating

The gate 34 controls by field-effect the current flow
thereunder laterally through the n-type material to the
p-type material in the extended drain region 37 . Further
flow through the extended drain region can be con-
trolled by the n-well 33 and the top layer 39, which act
as gates providing field-effects for pinching off the ex-
tended drain region therebetween Thus, the transistor
30 can be considered as an insulated-gate field-effect
transistor (IGFET or MOSFET) connected in series
with a double~sided, junction-gate field»effect transistor
(JFET). The n~well under the extended drain region has
to be depleted before breakdown occurs between the
p+ drain contact pocket 38 and the n-well.

Looking now at F`IG. 3, an n-channel transistor 10,
similar to that shown in FIG. 1, and a p-channel transis-
tor 30, similar to that shown in FIG. 2, are shown as a
complementary pair on the same substrate 11 and iso-
lated from each other. Since the details of each transis-
tor has been previously described with reference to
FIGS. 1 and 2, no further description is considered
necessary.

As shown in FIG. 4, low voltage, C~MOS imple-
mented devices 43 and 44 can be combined on the same
p~substrate 11 as the high voltage devices 10 and 30,
shown in FIG. 3. Tbese low voltage devices enable low
voltage logic and analog function to control the high
voltage devices The device 43 is an n-channel type
having a source contact 46, a drain contact 47 and a
polysilicon gate 48. A p+ pocket 49 and an n+ pocket
51 are provided in the p* substrate beneath the source
contact. The n+ pocket extends to beneath the gate. An
n+ pocket 52 is provided beneath the drain contact. The
gate 48 is insulated from the substrate by the silicon
dioxide layer 12, but the gate controls the current flow
through the substrate between pockets 51 and 52. The
gate is covered by the insulation layer 18. An n-well 53
is provided in the substrate to accommodate the low
voltage, p~channel device 44. This device includes a
source contact 54, a drain contact 56 and a polysilicon
gate 57. An n+ pocket 58 and a p+ pocket 59 are pro-
vided in the n-well beneath the source contact and a pi‘
pocket 61 is provided in the n-well beneath the drain
contact. The gate 57 is insulated from the n~well and
extends thereabove between pockets 59 and 61.

lt should be noted that the term “substrate” refers to
the physical material on which a microcircuit is fabri-
cated. If a transistor is fabricated on a well of n or p type
material within a primary substrate of opposite type
material, the well material can be considered a second-
ary substrate Similarly, if a transistor is fabricated on an
epitaxial layer or spi~island that merely supports and
insulates the transistor, the epitaxial layer cr epi-island
can be considered a secondary substrate An epi-island
is a portion of an epitaxial layer of one conductivity
type that xs isolated from the remaining portion of the
epitaxial layer by diffusion pockets of an opposite ccn-
ductivity type. When complimentary transistors are

v formed on the same chip, the well in which one compli-

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mentary transistor is embedded is formed by the same
diffusion as the extended drain region for the other
transistor.
FIG. 5 shows a symmetrical n-channel device 63
having a source contact 64 and a drain contact 66. A
polysilicon gate 67 is insulated from a substrate 68 by a
silicon dioxide layer 69 and the gate is covered by an
insulation layer 20. An n~type extended source region
71 is provided beneath the source contact and an n+
type pocket 72. A top layer 73 of p~type material is
positioned over an intermediate portion of the extended
source region, while the end portions of the extended
source region contact the silicon dixode layer there-
above. Beneath the drain contact is an n+ type pocket
74 and an n-type extended drain region 76. A top layer
73 of` p-type material is positioned.over an intermediate
portion of the extended drain region and end portions of
the extended drain region contact the silicon dioxide
layer. An implant 78 of the p-type material is provided
under the gate 67 between the extended source region
and the extended drain region f`or sustaining the thresh~
old voltage. A similar implant 79 for sustaining the
punch-through voltage is provided beneath the implant
78. Since the symmetrical channel device has both an
xtended source an an extended drain, the source can
ustain the same high potential as the drain. A symmet-
yeric p~channel device could be made in a similar way
”,using opposite conductivity type materials
From the foregoing description, it will be seen that an
fticient, high voltage MOS transistor has been pro-
ided. This transistor is compatible with five volt logic
which easily can be integrated on the same chip. 'l`he
transistor has a voltage capability of three hundred
olts for an _n~channel device, and has a figure of merit,
,,x A, of about 2.0 llmmz. The transistor is formed by
insulated-gate field~ei`f`ect transistor and a double-

§ided junction'gate field-effect transistor connected in

‘”&des on the same chip. These transistors can be made
as either discrete devices or integrated devices of either
n-channel or p-channel conductivity. The integrated
devices can be easily combined with low voltage con-
trol logic on the same chip. Further devices of opposite
conductivity can be combined in a complementary man-
ner on the same chip.

Although the present invention has been described in
terms of the presently preferred embodiment, it is to be
understood that such disclosure is not to be interpreted
as limiting Various alterations and modifications will
no doubt become apparent to those of ordinary skill in
the art after having read the above disclosure Accord~
ingly, it is intended that the appended claims be inter-
preted as covering all alterations and modifications as
fall within the'true spirit and scope of the invention.

l claims

1. A high voltage MOS transistor comprising:

a semiconductor substrate'of' a first conductivity type
having a surface

a pair of laterally spaced pockets of semiconductor
material of` a second conductivity type within the
substrate and adjoining the substrate surface,

a source contact connected to one pocket,

a drain contact connected to the other pocket,

an extended drain region of the second.co`nductivity
type extending laterally each way from the drain
contact pocket to surface~adjoining positions,

a surface adjoining layer of material ot` the first con-
ductivity type on top of an intermediate portion of
the extended drain region between the drain
contact pocket and the surface-adjoining positions,

   
 

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said top layer of material and said substrate being
subject to application of a reverse-bias voltage,

an insulating layer on the surface of the substrate and
covering at least that portion between the source
contact pocket and the nearest surface-adjoining
position of the extended`drain region, and

a gate electrode on the insulating layer and electri-
cally isolated from the substrate region thereunder
which forms a channel laterally between the source v
contact pocket and the nearest surface-adjoining
position of the extended drain region, said gate
electrode controlling by field-effect the flow of
current thereunder through the channel.

2. The high-voltage MOS transistor of claim 1

wherein,

said top layer has a depth of one micron or less.

3. The high-voltage MOS transistor of claim 1
wherein,

said top layer has a doping density higher than
5><1015/cm3 so that the mobility starts to degrade.

4. The high voltage MOS transistor of claim 1 having
one channel conductivity type in combination with a
complementary high voltage MOS transistor of an op-
posite channel conductivity type combined on the same
chip and isolated from each other.

5. The high voltage MOS transistor of claim 1 com~
bined on the same chip with a low voltage CMOS im-
plemented device.

6. The combination of claim 5 further including,

a complementary high voltage MOS transistor, and

a complementary low voltage CMOS implemented
device on the same chip and isolated from each
other.

7. A high voltage MOS transistor comprising:

a semiconductor substrate of a first conductivity type
having a surface,

a pair of laterally spaced pockets of semiconductor
material of a second conductivity type within the
substrate and adjoining the substrate surface,

a source contact connected to one pocket,

an extended source region of the second conductivity
type extending laterally each way from the source
contact pocket to surface-adjoining positions,

a surface adjoining layer of material of` the first con~
ductivity type on top ot` an intermediate portion of
the extended source region between the surface~
adjoining positions,

said top layer and said substrate being subject to ap-
plication of a reverse-bias voltage,

a drain contact connected to the other pocket,

an extended drain region of the second conductivity
type extending laterally each way from the drain
contact pocket to surface'adjoining positions,

a surface adjoining layer of` material of the first con-
ductivity type on top of an intermediate portion of
the extended drain region between the drain
contact pocket and the surface-adjoining positions,

said top layer of material and said substrate being
subject to application of a reverse-bias voltage,

an insulating layer on the surface of the substrate and
covering'at least that portion between the nearest
surface~adjoining positions of the extended source
region and the extended drain region, and g

a gate electrode on the insulating layer and electri~
cally isolated from the substrate region thereunder
which forms a channel laterally between the near-
est surf`ace-adjoining positions of the extended
source region and the extended drain region, said
gate electrode controlling by field-effect the cur-

rent flow thereunder through the channel.
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